            Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 1 of 71 Page ID #:24




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              10    Attorneys for Plaintiff, EMCORE Corporation
                                                                               'SEP ~ 6~4i
                                                                        CYfJT~~AL DISTRICT OF CALI~~ ~IIA
              11                                                                                    11~Y


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              12                        UNITED STATES DISTRICT COURT
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      Q       13                      CENTRAL DISTRICT OF CALIFORNIA
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    ~n c~     15   EMCORE CORPORATION,a New               Case No.
                   Jersey Corporation,
     ~,       16                                          COMPLAINT FOR
                               Plaintiff,                 DECLARATORY JUDGMENT
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~ ~°          18                                          DEMAND FOR JURY TRIAL
                   PHOENIX NAVIGATION
~~ ~          19   COMPONENTS, LLC, a
     ~-            Massachusetts Limited Liability
              20   Company,
             21                Defendant.
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               Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 2 of 71 Page ID #:25




                  1           Plaintiff EMCORE Corporation ("EMCORE" or• "Plaintiff'), through its
                 2     undersigned counsel, brings this action against Defendant Phoenix Navigation
                 3     Components, LLC ("Defendant"). In support of its Complaint, Plaintiff alleges as
                       follows:
                  _5                                        PARTIES
                 6            1.     EMCORE is a New Jersey corporation with its principal place of
                 7     business at 2015 Chestnut Street, Alhambra, California.
                 8            2.     On information and belief, Defendant is a limited liability company
                 9     organized under the laws of Massachusetts, with its principal place of business at
                 10    7 Alma Road, Walpole, Massachusetts.
                 11                              JURISDICTION AND VENUE

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                 12           3.     This is a civil action arising under the Patent Laws of the United
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                       States, 35 U.S.C. § 100 et seq., and the Declaratory Judgment Act, 28 U.S.C.
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                 14    2201 et seg. EMCORE seeks a declaration under, inter alia, 35 U.S.C. §§ 100,
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~ ~c~            15    256 and 261 that: (1) the inventors listed on U.S. Pat. No. 8,773,665 ("the '665
    ~~ ~         16    Patent") Ronald T. Logan, Jr. and Ka Kha Wong—and no other individuals, are

    s            17    the true and cor-l-ect inventors of the subject matter described and claimed in the
    ~  ~
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                 18    '665 Patent; and (2) EMCORE is the sole owner of the '665 Patent and that
    `~`~'
                 19    Phoenix has no rights in or to the '665 Patent.
    ~~--
                 2U           4.     This Court has subject matter jurisdiction over this action pursuant to

                 21    the Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202, and pursuant to 28
                 22    U.S.C. §§ 1331 and 1338(a).
                 23           5.     This Court has specific personal jurisdiction over Defendant because

                 24    this action arises out of Defendant's purposefully directed activities towards

                 2~    Plaintiff within this judicial district. In pat~ticular, Defendant has continuously

                 26    and systematically engaged in business relations with Plaintiff within this judicial

                 27    district. Defendant has directly offered and sold its services to EMCORE within

                 28    this judicial district.

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         Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 3 of 71 Page ID #:26




             1           6.     Venue is proper in this forum pursuant to 28 U.S.C. ~ 1391(b) and
            2     (c) and/or 28 U.S.C. ~ 1400(b).
            3                 FACTUAL BACKGROUND AND NATURE OF ACTION
            4            7.     U.S. Patent No. 8,773,665 ("the '665 Patent"), entitled "Compact
                  Fiber Optic Gyroscope," was issued by the United States Patent and Trademark
            6     Office ("USPTO") on July 8, 2014. A true and correct copy of the '665 Patent is
            7     attached hereto as Exhibit 1.
            8            8.     The title page of the '665 Patent lists two inventors: Ronald T.
             y    Logan, Jr., of Pasadena, California, and Ka Kha Wong, of Alhambra, California.
           l0     Both Mr. Logan and Mr. Wong are employees of EMCORE. In or around 2011,
           11      Messrs. Logan and Wong formally assigned their rights in and to the'665 Patent
           12     to EMCORE. EMCORE owns the entire right, title and interest in and to the '665
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     Q     13     Patent.
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           1 -1          9.     EMCORE's      patented   technology    stands      apart   from   other
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~ ~c~      15     conventional fiber optic gyroscopes (FOGs), because EMCORE's technology

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           16     includes specialized transceivers and integrated optical circuits (IOC), the
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    s      17     configurations and specifications of which allow for the construction of highly
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           1~     accurate, compact FOGs. Beginning at least as early as 2005, ENCORE spent
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    s      19      numerous years designing and developing compact transceivers and IOCs with
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           20     the goal of developing a compact FOG product line. The specific transceiver and
           21      IOC features described and claimed in the '665 Patent, in combination with other
           22     conventional features of a FOG, were conceived and developed exclusively by
           23     ENCORE employees Logan and Wong.

           24            1 0.   ENCORE is a leading provider of advanced fiber optic technology,

           25      including transceiver and IOC technology for enabling compact and accurate

           26      FOGs. ENCORE has been a leader in fiber optic technology for over thirty

           27      years, and has been awarded a number of patents in the field.

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         Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 4 of 71 Page ID #:27




            1           11.   In 2007, one of EMCORE's customers brought to EMCORE a non-
           2    functioning FOG it had purchased and deployed from a company called
           3    Fizoptika. The customer requested that EMCORE develop a FOG with the same
           4    "form, fit, and function" as its FOG, albeit using EMCORE's transceiver and IOC
           5    technology, in order to retrofit the customer's existing products.
           6            12.   In 2008, EMCORE and Defendant began doing business together,
           7    entering into a Mutual Proprietary Information Agreement governed by California
           8     law.
           9            13.   Subsequently, between 2008 and 2011, EMCORE and Defendant
           10   entered into two agreements—the terms of which are not at issue here—under
           11    which Defendant would provide certain engineering services to EMCORE.
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           12           14.   In 2011, EMCORE filed a patent application for a compact fiber
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                 optic gyroscope including the advanced transceiver and IOC design conceived of
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           14    and developed by Messrs. Logan and Wong, which later resulted in the issuance
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~ ~~       15    of the'665 Patent.

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           Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 5 of 71 Page ID #:28




              1          15.     The scope of the patent is set forth in the claims, which recite a
              2    compact fiber optic gyroscope with various components of the transceiver and
              3    IOC, the incorporation of which allows for the construction of a fiber optic
                   gyroscope that was more compact and accurate than existing designs with
                   substantially the same form, fit and function. The USPTO Examiner specifically
              6    listed and emphasized the elements of the transceiver in the "Reasons for
              7    Allowance" of the `665 Patent      in particular, "wherein the transceiver module
              8    comprises: a second house            anon-coherent light source          an optical
              q    circulator       a focusing lens     . and first and second photodiodes       ." in
             l0    combination with the remaining limitations of the claim. This novel transceiver
             11    technology, used in combination with the other recited limitations of the claims,
             12    was developed exclusively by Messrs. Logan and Wong, not any personnel
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~ ~Q         13    associated with Defendant.
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             1-~         1 6.    Figure 6 in the '665 Patent is a diagram of a generalized structure of
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~ ~c~        15    t11e fiber optic gyroscope, without detailing the claimed internal components of
             16    the transceiver and other components. The similarity between Figure 6 and a

  `~v~       17    figure from Defendant's "EMP-1 (Proto FOG)Design Review," is that the figures
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   ~         18    depict a generalized high level layout of a fiber optic gyroscope. Accordingly,
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                   there is nothing in the presentation that can qualify as an inventive contribution
--~ ~=       2U    apat~t from the transceiver and IOC design advances made exclusively by Messrs.
             21    Logan and Wong on behalf of EMCORE pt-ior to 2008.
             22           1 7.   As Defendant admits in its "EMP-1 (Proto FOG) Design Review"
             23    presentation, the general configuration of the EMP-1 was a "form, fit &function"
             24    replacement for the Fizoptika FOG, meant to retrofit existing products. With the
             25    exception of the inclusion of EMCORE's novel, proprietary transceiver and IOC
             26    in a closed-loop system, the form of a Fizoptika device bears substantially the
             27    same layout as the prototype EMP-1, as shown below:
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         Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 6 of 71 Page ID #:29




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                                                    Exploded View
            2                                          ~
                                                                                Top Cover
            3                               ~~~"                                FOG Electronics
            4
                                                                                External LSO connector
            5                                                                   FOG Trainsc~iver

            6                                                                   Inter board connector

            7
                                                                                SLD Drive
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                                                              ~
                                                              -                 FOG coil, ~2a0m
            9
                                                     _                          IOC re~~ise t~ use pacfcaged
           10                                       "- y~`;                     device in prototype
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           11                        `~-.-~__        -=~ ~    ~'~     ------~- Base - no thin boles for sealing

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                                                     Figure from Phoenix's
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           14                          "EMP-1 (Proto FOG)Design Review"
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                                                             Tip cover
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~w                                                            ter board connector                  ;,:~
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J~         20                                                                                      .a     ,,.:
                                                              ~urce, detector & coupler
                                                                                                    :~_— ~`
                                                              eparate components ~
           21
                                                              i nctionaliyequivalentto
           22                                                 ansceiver)
                                                                 FOG coil                                   _ ~.
           23                                                   Piezoelectric modulator
           24                                                  (functional equivalent
                                                                to IOC modulator)
           25                                                  Base

           26
                               Fizoptika Device from EMCORE customer in 2007
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         Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 7 of 71 Page ID #:30




            1           18.   One skilled in the art of FOG designs and layouts would
           2     immediately see that the primary difference between the figure from Defendant's
           3     presentation and the layout of the Fizoptika device, is that Defendant's figure
                 incorporates a transceiver and IOC, whereas the Fizoptika device includes
                separate and discrete source, detector and IOC colzlponents. Messrs. Logan and
           6     Wong exclusively invented the transceiver and IOC components reflected in
            7    Defendant's presentation and in the `665 Patent.
           8            19.   Defendant has repeatedly stated that the transceiver and IOC
            y   constitute EMCORE's exclusive technology. The remaining layout shown in
           10   Defendant's presentation encompasses a basic layout well-known in the industry.
           11   The fundamental inventive contribution leading to the '665 Patent was conceived
           12    and developed exclusively by Messrs. Logan and Wong. Accordingly, they are
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     Q     13   the true and correct inventors named on the '665 Patent.
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           14          20.    In late 2014, EMCORE relocated its corporate headquarters from
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~ ~~       1~    Albuquerque, New Mexico, to Alhambra, California, which is within this judicial
           16    district. After the move, EMCORE and Defendant continued to do business
           17    together, including within this judicial district.
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           18          21.    However, the business arrangements did not go as planned, and over

    z      19    the course of several years EMCORE was forced to spend very significant sums
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          20     of money—over $6.6 million          re-developing technology that Defendant had

          21     previously represented to EMCORE as being functional and close to production
          22     even prior to the parties' contractual agreements.
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                 1          22.      On June 12, 2018, Defendant tiled a Demand for Arbitration against
                 2    EMCORE with the American Arbitration Association ("AAA") based upon the
                 3    arbitration provisions contained in the patties' agreements. Defendant's original
                 ~t   Demand alleged counts for breach of contract, breach of the covenant of good
                      faith and fair dealing, misappropriation of trade secrets, conversion, and unjust
             6        enrichment.
                 7          23.      On August 31, 2018, Defendant filed a First Amended Demand for
                 8    Arbitration against EMCORE in the AAA arbitration proceeding. In its First
                 ~~   Amended Demand, Defendant added two new patent counts: (1) Count IX for
             10       correction of inventorship pursuant to 35 U.S.C. § 256, alleging that two of
             11       Defendant's members, Glen Gage and Robert Hansen, are the "true and sole

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             12       inventors" of the subject matter disclosed and claimed in the '665 Patent; and (2)
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                      Count X for• a declaration that Defendant, not EMCORE, is the sole owner of the
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             14       '665 Patent.     The First Amended Demand which was designated as "Highly
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~ ~~         1        Confidential" by Defendant, attached hereto as Exhibit 2, was the first occasion
             16       on which Defendant purported to challenge the inventorship and ownership of the

    :~~}     17       '665 Patent.
             18             24.      In the First Amended Demand, Defendant alleges:          "Phoenix

             19       employees, Glen Gage and Robert Hansen, fully conceived and reduced to
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    ~~,
            20        pl•actice the invention claimed in the '665 Patent and are thus the true and sole
            21        inventors of such." (Am. Demand ¶ 135.) As described above, this is not true.
             22       Messl-s. Logan and Wong are the true and correct inventors of the inventive
            23        subject matter claimed in the'665 Patent.

            24              25.      In the First Amended Demand, Defendant also alleges: "Mr. Gage

             25       and Mr. Hansen, both Phoenix employees, are the true and only inventors of the

             26       '665 Patent. Mr. Gage and Mr. Hansen have assigned their ownership rights in

             27       the invention to Phoenix." (Am. Demand ¶ 138.) As described above, this is not

             28       true. Messrs. Logan and Wong are the true and correct inventors of the inventive
           Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 9 of 71 Page ID #:32




                 1   subject matter claimed in the '665 Patent, and EMCORE is the sole owner of the
                 2   '665 Patent by way of assignment from Messrs. Logan and Wong.
                 3         26.   The patent claims asserted by Defendant in the First Amended
                     Demand (Counts IX and X)do not arise out the parties' agreements and therefore,
                 5   are not subject to the arbitration provisions contained in those agreements. Under
                 6   the 1982 Amendments to the Patent Act, codified at 35 U.S.C. § 294, arbitration
                 7   of patent claims cannot be compelled absent an express written agreement by the
                 8   parties to arbitrate such claims.   Here, the parties never agreed to arbitrate
                 9   Defendant's patent claims and therefore, jurisdiction over such claims is properly
             10      before this Court.
             11                       STANDING —CASE OR CONTROVERSY
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             12            27.   There is an immediate, actual, and justiciable controversy between
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      Q      13      ENCORE and Defendant concerning the inventorship and ownership of the'665
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   co        1       Patent that is within the jurisdiction of this court under 28 U.S.C. §§ 2201 and
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~ ~~         1.5     2202. Pursuant to 35 U.S.C. § 100 (~, "inventor" means "the individual or, if a
    ~.~;     16      joint invention, the individuals collectively who invented or discovered the

    z        17      subject matter of the invention." Messrs. Logan and Wong are the only true and

    `~~'
             18      coY•rect inventors of the subject matter of the '665 Patent under § 100 (~, and
             19      ENCORE is the sole owner• of the '665 Patent. Correction of inventorship of the
    ~~--
            20       `665 Patent under 35 U.S.C. §256 is not warranted, and should be denied.
            21                                        COUNT ONE
            22           (Declaratory Judgment of Correct Inventorship of the '665 Patent)
            23             28.   ENCORE realleges and incorporates by reference the allegations
            24       contained in paragraphs 1-27 of this Complaint as if set forth in their entirety
            25       herein.

            26             29.   There is an actual and justiciable controversy between the parties

            27       arising under the Patent Act, in particular under 35 U.S.C. §§ 100 and 256

            28       concerning the correct inventorship of the'665 Patent.

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            1          30.     Ronald T. Logan, Jr. and. Ka Kha Wong of Alhambra, California, are
            2    the true, correct, and sole inventors of the inventions disclosed and claimed in the
            3   '665 Patent.
            4          31.     ENCORE, as the owner and assignee of the '665 Patent, is entitled
            5    to a judicial declaration that the inventorship listed on the '665 Patent is correct,
            6    and that Messrs. Logan and Wong are the true, correct, and sole inventors of the
            7    inventions disclosed and claimed in the '665 Patent.
            8                                      COUNT TWO
            9                (Declaratory Judgment of Ownership of the `665 Patent)
           10          32.     ENCORE realleges and incorporates by reference the allegations
           11    contained in paragraphs 1-31 of this Complaint as if set forth in their entirety

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           12    herein.
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     Q     13          33.     There is an actual and justiciable controversy between the parties
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           1~    arising under the Patent Act, in particular 35 U.S.C. §§ 1.00, 256 and 261
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~ ~nc~     15    concerning the correct ownership of the '665 Patent.
           16          34.     Messrs. Logan and Wong are the true, correct, and sole inventors of
    ~      17    the'665 Patent. Messrs. Logan and Wong have assigned their ownership rights
    ~~
    ~      18    in the invention to ENCORE.
           19          35.     ENCORE, as the owners and assignee of the'665 Patent is entitled
~          20    to a judicial declaration that ENCORE is the sole owner of the '665 Patent.
           21                            REQUEST FOR JURY TRIAL
           22          36.     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,
           23    ENCORE demands a trial by jury for all issues so triable.
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             Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 11 of 71 Page ID #:34




                1                              REQUEST FOR RELIEF
                2          WHEREFORE,EMCORE requests that this Court enter judgment in its
                3    favor and against Phoenix as follows:
                           a.    Declaring that Messrs. Ronald T. Logan, J1•. and Ka Kha Wong are
                           correctly named as joint inventors on the '665 Patent;
                6          b.    Declaring that Messrs. Glen Gage and Robert Hansen are not
                7          inventors of any claim of the '665 Patent;
                8          c.    Declaring that EMCORE is the sole owner of the '665 Patent;
                9          d.    Declaring that Phoenix has no rights in or to the '665 Patent;
               lU          c.    Holding this case to be exceptional and awarding EMCORE its
               11          attorneys' fees under 35 U.S.C. § 285;
               12          d.    Awarding EMCORE its costs pursuant to Fed. R. Civ. P. 54(d); and
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  Q            13          e.    Granting any other relief as the Court deems just and proper.
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    u~ c~      15    DATED: September 17, 2018               Respectfully submitted,
     w         16                                            LEWIS ROCA ROTHGERBER
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     ~                                                       CHRISTIE LLP
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                                                             By
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     ~-
--~ ~          20                                            Attorneys for Plaintiff
                                                             EMCORE Corporation
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             Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 12 of 71 Page ID #:35




                 1                             DEMAND FOR JURY TRIAL
                 2          Plaintiff Timely Inventions, LLC, pursuant to Federal Rule of Civil
                3     Procedure 38, hereby demands a trial by jury of all issues so triable.


                s     DATED: September 17, 2018              Respectfully submitted,
                6                                            LEWIS ROCA ROTHGERBER
                                                             CHRISTIE LLP
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                                                             By
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               10                                            Attorney~s~_ for Plaintiff
                                                             EMCORE Corporation
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Case 2:18-cv-08077-AB-JEM Document 8 Filed 09/26/18 Page 13 of 71 Page ID #:36
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                                                                                                                          US008773665B 1


    ~1~, United States Patent                                                                      ~io~ Patent No.:                        US 8,773,665 B1
           Logan, Jr. et al.                                                                       ~4s~ Date of Patent:                                  Jul. 8, 2014

   (54) CONIl'ACT FIBER OPTIC GYROSCOPE                                                             6,466,364     B1        1012002    Vakoc et al.
                                                                                                    6,529,444     B2         3/2003    Vakoc
                                                                                                    6,667,935     B2        12!2003    Vakoc
   (75) Inventors: Ronald T. Logan, Jr., Pasadena, CA                                               6,678,211     B2         112004    Vakoc
                  (LJS); Ka Kha Wong,Alhambra,CA                                                    7,417,740     B2         812008    Alphonse et al.
                  (US)                                                                              7,746,476     B2         6i"2010   Demers et al.
                                                                                                2002,'0097636     Al         712002    Vakoc
   (73) Assignee: I~:mcore ('orporation, Albuquerque, NM                                        2002,0145795      Al        1012002    Vakoc et a1.
                                                                                                2002!0191937      Al        12i2UU2    Knox et al.
                 (iJS)                                                                          2003!0043696      Al         312003    Vakoc
                                                                                                2003!0043697      Al         3!2003    Vakoc
   (*) Notice:             Subject to any disclaimer, the term ofthis                           2003.!0123064     Al         712003    Szafraniec et al.
                           patent is extended or adjusted under 35                                                               (Continued)
                           U.S.C. 154(b) by 356 days.
                                                                                                                      OTHER PUBLICATIONS
   (21) Appl. No.: 131078,428
                                                                                               U.S. Appl. No. 13/158,865, Jun. 13, 2011, Logan et al.
   (22) Filed:            :1pr. 1, 2011
                                                                                               Primary Examiner — Michael A Lyons
   (51) Int. Cl.                                                                               Assistant Examiner —Shawn Decenzo
        GOIC19/72                    (2006.01)
                                                                                               (57)                              ABSTRACT
   (52) U.S. CI.
        USPC .......................................................... 356/460                A compact fiber optic gyroscope including a first housing; a
   (58) Field of Classification Search                                                         transceiver module disposed in the first housing, the trans-
        CPC .... GOlC 19/72; GO1C 191722; GO1C 19/723;                                         ceiver module including a second housing; anon-coherent
                GO1C 19/725; GO1C 19/726; GO1C 19/727;                                         light source disposed in the second housing for producing a
                                                                  c~~c iyi~zx                  first beam oflight; a single lens for focusing the first beam of
            USPC ................... 356/460, 461; 73/504.01, 504.02                           light;an optical circulator di~osed in the second housing and
            Soe application file for complete search history.                                  in the path of the first beam of light to produce polarized
                                                                                               second and tlu~ beams respectii~ely, with polarization
   (56)                       References Clted                                                 orthogonal to each other; and first and second photodiodes
                                                                                               disposed in the second housing and coupled to the optical
                      U.S. PATENT DOCUMENTS                                                    circulator, wherein the fist photociiode is a transnut monitor
                                                                                               photodiode coupled to the second beam,and the second pho-
          4,373,814    A *     2/1983    Lacombat et al. ............ 356/460                  todiode is a receiver photodiode. The first housing fiirther
          4,615,582    A *    10/1986    Lefevre et al. .................... 385/4
          5,444,534    A *     8/1995    Dyott et al. ................... 356x465              includes a planar optical fiber loop having a first end and a
          5,677,767    A      10/1997    Shirasaki et al.                                      second end; a phase modulator coupled to the third beam
          5,686,990    A *    11/1997    Laznicka, Jr. ................. 356~'4b0              emitted from the transceiver module to produce fourth and
          5,714,674    A       2/1998    Martin et al.                                         fifth beams coupled to the first and the second end respec-
          5,818,589    A      10/1998    Scholz et al.                                         tively ofthe optical fiber loop respectively, and for receiving
          6,034,924    A       3/2000    Vakoc
          6,201,923    B1 *    3/2001    Yuhara et al. ................. 3R5,'137              the return sixth and seventh beams from the second and the
          6,278,657    B1      8/2001    Vakoc                                                 first ends respectively ofthe optical fiber loop.
          6,351,310    B1      2/2002    ~:mge et al.
          6,377,391    B1      412002    Vakoc et al.                                                             19 Claims,4 Drawing Sheets




                                                               ~`~ 214                   215      t~-~'
                                                                                                   j            216
                                                           r----------            ---~---'--    ___ _ _    ~
                                                                Focusing                                    ;               2~
                                              Chossis~, ~                     Rec PD               TUI ~    F    Rev +/
                                                                     L401                                                         2i
                                                               201          203          R~~' ~ 207 2j                210
                                        SlD                ~                                                ~
                                        Cathode/Mode     — ~___ SLD                                         ~
                                                           ~                            P3S                 ~
                                        htotrita oiode     i            204
                                        Cathode/Anode    —;—~---              Mon PD                        ~ 1/0 Fber       212
                                                                                              205 ~
                                        TEC +/-          ~                        TEC
                                        Thermistcr +/- .--; - lher~r►istor                                        217
                                                                              219 218 Tt~erenul Can#ref




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                                                                            2011,'0037972   Al    212011   Bergh
    2006/0139727 Al *   6/2006 Gafsi et al. .................... 3591280    2013!0033737    Al    212013   Logan et al.
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    207/0097374 A 1     5/2007 Ren-Young                                   *cited by examiner




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                                                                              108
                                                      105      106
            101                            104
                  Sip Directional
                       Coupler                                       i
            109\— ~            ~ j~ 103 LiNb03 FOG Chip
                ~ 102                                          107 PM Fiber Loop
             Receiver PD Monitor PD

                                                 FIG.1
                                                 Prior Art




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                                                     2Q~
                                                 ~r-~ 2i5` ~~—~~                              21fi
                              r----------------------_

                                         214                                        ~~'E ~                 211
                ~hossis ~~ ;                         Rec PD                  T1A        ~        rev +f
                                         202                                                                     213
                                               203            ~~r~day          f                     2~0
                                   209                        Rofator '
                                                                      -
                                                                        2n7209
          SLD                 ~
          Cathode~Anode       ,     S~-~
                                                                      ~'ocus►ng 2~8 ~ ~.~
                                                                                    i
                                           2                PBS
          Monitor Diode       ~             a4                       GRIN tens          e
          Cathode/Anode       ~                   ~lon PD                               E I/~ Fiber         212
                                                                   205
          TEC +/—             ~                       TEC                               i~

          Thermistor +f —     ~~    Thermistor    2 ~ 9 218                                        2~7
                                                                      ThermaE Control
                              L...__...___......~_~..___.,.~---._~_~......_..._~~J



                                                     F~~■2
                                                      Pryor Art



                             Collimating                                           it
                                                     ~~~ive Phofadiode
                             tens                             214
                             2~2                                                              ~'aradoy
                                                                                              Rotatflr
                                                                                              247



                       S~
                       2a~
                                                                                             Focusing
                                                                                             GRIN .ens
                                                                                               2Q8
                     Receive Lens''             J                 Polarizing            ~~
                     ~,ic~ht Baffle Monitor Phota~~ode            ~~°m Spli#ter
                                      205                         203
                                                     F~~.~
                                                     Prior Art




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                                  400            214           2~5           ~/-~v               216
                                       ,
                              r-___.....------ ----------                ---f- -- -s
                                   focusing                                               ji         2i 1
               Chassis _~`~                                              --- TIA        ~--. Rev +/—
                                                   ~ sec Pt?
                                        4D 1                                                                   213
                                               2Q~             Faraday                                 210          ~
                                  201                          Rotator         207,¢~~ ,
         SLD                  ~
         CathodefA~o~e        ,     SAD
                              ~                                                              t
                              +                            PBS                               ►~~
                                                                                               ~1
         t►~~nitar Diode      ~            204                             403               ~ ~ ~ Fiber
         Cathode/Anode        ~                      Mon PD                                  + ~             212
                                                                 205
                              a                                                              s


         Thermistor +/— =!         Thermist~r-~..2~9 2~8                                           217
                                                                     ~~Qrm,~i Control F
                              L ......______~........~_............_..............~~~_~....J




                                                     ~1~,4


                             ~~~~S~~g                 pe~a;,~o ~~~{n~;~,~o         X04 ~~~a~fly




                       SLD
                      201



                    R2ceiv~
                    light ~attte     MOtIEtOr   Photodiode       ~°~ ~P~~tter           --
                                     205                         203
                                                     F!G . 5


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                                                  610



                                                                        Top Cover

          }2              ~                                ;+      DSP Electronics (Digital Output)
               608                 e,                             External I/O connector
                          a00           _~        ~~~             609
                              ~'~o= e             ~
                          ,
                          ~ o~                        OO
          607
                    400       ~~        ~~~— Transceiver (Fiber Management)

                  611         Q~ ~           -  ~o               Inter board connector
                          0        0            0o S                SLD Drive
                                         _   `%3~"
              606

                                                                        Fber coil, 200m

           •~Z'
         .~                                                              IC (Vacuum Insensitive)


                                                                         Base — no thru holes for sealing
         soy
                                                           eo5
                                             ;~




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           CO'_1ZPACT FIBER OPTIC GYROSCOPE                                    It is still another object ofthe present invention to provide
                                                                            a fiber optic gyroscope that may be manufactured to a speci-
                 BACKGROUND OF THE INVENTION                                fied degree ofaccuracy by changing the fiber coil length and
                                                                            by progranuning an internal processor.
         1. Field ofthe Invention                                      s       It is still another object ofthe present invention to provide
       'lie invention relates to fiber optic gyroscopes(NU(is)and           a fiber optic gyroscope that is operable over a wide perfor-
     in particular to integration techniques that implement a               mance range that may be adapted by the user to a specified
    single-axis FOG transceiver subassembly having high accu-               degee of accuracy or noise tolerance by changing certain
    racyand low noise in a small,compact cylindricalform factor.            parameters, such as fiber coil length, ofthe unit.
         2. Description ofthe Related Art                              io      Some implementations may achieve fewer than all of the
         A FOG is a device that uses the propagation oflight beams         foregoing objects.
    in an optical fiber coil to detect mechanical rotation of the              Additional objects, advantages, and novel features of the
    fiber coil. The sensor is a coil ofas much as 5 km or more of           present invention will become apparent to those skilled in the
    optical fiber. The typical implementation provides that two            art from this disclosure, including the following detailed
    light beams be launched into the fiber in opposite directions. is description as well as by practice ofthe invention. While the
    Due to an optical phenomenon known as the Sagnac effect,               invention is described below with reference to preferred
    the beam traveling against the rotation experiences a slightly         emlx~diments,it should he understaodthatthe invention is not
    shorter path than the other beam resulting in a relative phase         limited thereto. Those of ordinary skill in the art having
    shift. The amount ofthe phase shift ofthe original two beams           access to the teachings herein will recognize additional appli-
    can be measured by determining how the beams interfere with 2o cations, modifications and embodiments in other fields,
    each other when they are combined. 'I7~e intensify of the              which are within the scope ofthe invention as disclosed and
    combined beam then depends on the rotation rate ofthe fiber            claimed herein and with respect to which the invention could
    coil about its axis.                                                   be of utility.
         A FOG provides extremely precise rotational rate informa-         2. Feah~res ofthe Invention
    tion, in view of its lack of cross-axis sensitivity to vibration, 2s       Briefly, and in general terms, the present disclosure pro-
    acceleration, and shuck. Unlike the classic spinning-mass              vides acompact fiber optic gyroscope including a first hous-
    gyroscope, the FOG has virtually no moving parts and no                ing; atransceiver module disposed in the first housing, and
    inertial resistance to movement. The FOG also can provide              inchiding a second housing; anon-coherent light source dis-
    higher resolution than a ring laser gyroscope and is utilized in       posed in the second housing for producing a first beam of
    inertial navigation systems requiring a very high degree of so light; an optical circulator disposed in the second housing and
    accuracy.                                                              in the path of the first beam of light to produce polarized
        There are tvvo types ofFOG systems.closed loop andopen             second and third beams respectively, with polari~ati~n
   loop.In a closed loop system,a feedback path is defined so as           orthogonal to each other; and first and second photodiodes
    to maintain the phase difference between the light beams               disposed in the second housing and coupled to the optical
   constant after the beams exit the ends of the fiber coil. The 3s cu~culator, wherein the first photodiode is a transmit monitor
   amountoffeedback phase needed to maintain the fixed phase               photodiode coupled to the second beam,and the second pho-
   relation is therefore indicative ofthe rate ofrotation ofthe coil       todiode is a receiver photociiode; a planar optical fiber loop
   about its axis.                                                         disposers in the first housing and having a first end and a
       Open loop FOG systems calculate the rotation rate by way            second end; a phase modulator disposed in the first housing
   ofamplitude measurements taken along an interference curve ao and coupled to the third beam from the transceiver module to
   that results when the two exiting light beams are recombined.           produce fourth and fifth beams coupled to the first and the
                                                                           second end respectively ofthe optical fiber loop respectively,
                    SUMMARY OF THF,INVNN'170N                              and receiving the return sixth and seventh beams from the
                                                                           second and the first ends respectively of the fiber loop, and
   1. Objects ofthe Invention.                                        4s coupling the return sixth and seventh beams to the roceiver
       It is an object of the present invention to provide a fiber         photodiode in the transceiver module; and a processor dis-
   optic gyroscope in a small, highly integrated form factor.              posed in the first housing and coupled to the receiver photo-
       It is another object of the present invention to provide a          diodefor determining the phase relationship between the two
   single-axis fiber optic gyroscope in a single integrated hous-         counter propagating beams in the fiber loop and thereby
   ing.                                                               so determining the rotational rate ofthe planar optical fiber loop
        It is also another object ofthe present invention to provide       with respect to an axis.
   a fiber optic gyroscope having high accuracy and low noise                 The optical circulator can include a polarizing beam split-
   using an integrated opto-electronic transceiver subassembly.           ter.
       It is also another object ofthe present invention to provide           The optical circulator can further include a Faraday rotator
   a fiber optic gyroscope having a rotational rate drift of less ss coupled to an output ofthe polarizing beam sputter.
   than 1 degree per hour.                                                    The phase modulator may be a lithium niobate iuodulator.
       It is also another object ofthe present invention to provide           The phase modulator may have an output pair of optical
   a fiber optic gyroscope having noise measured in angular               fibers which may be spliced t~ the first end and the second end
   degrees random walk per square root ofhour ofless than 0.02            respectively ofthe planar optical fiber loop.
   degrees.                                                           ~~      The planar optical fiber loop can be circumferentially dis-
       It is also another object ofthe present invention to provide       posed around the interior periphery ofthe first housing.
   a fiber optic gyroscope capable of recording angulaz rate                  The first housing may be cylindrically shaped and the
   changes ofgreater than 500 dt~rees per sc;cond.                        pl~war optical fiber loop may be circumferentially disposed
       It is also another object offlee present ixivention to provide     around the interior periphery ofthe first housing.
   a fiber gptic gyroscope having a closed loop feedback path so 65           The first housing may be cylindrically shaped having
   as to maintain the phase dii~terence between the light beams           dimensions ofapproximately KQ mm in diameter, and 2O mm
   constant after the beams exit the ends ofthe fiber coil.               in height.

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                                                                                                        4
        The weight ofthe gyroscope may be 160 grams or less.                  Some implementations ofthe present invention may incor-
        The second housing may be a hermetically sealed butterfly          porate orimplement fewer ofthe aspects and features noted in
     package.                                                              the foregoing summaries.
        The rotational rate of the gyroscope may have a drift of
     between O.00S and 1.0 degrees per hour.                           s           BRIEF DESCRIPTION OF THE DRAWINGS
        The rotational rate ofthe gyroscope may have a drift that is
     adjustable by the user to a desired operational range.                   These and other features and advantages ofthis invention
        The rotational rate ofthe gyroscope may have a drift that is       will be better understood and snore fully appreciated by ref-
     operable over an operational range of up to 1.0 degree per            erence to the following detailed description when considered
     hour.                                                            1° in conjunction with the accompanying drawings wherein:
        The noise measured in angular degrees random walk per                 FIG. 1 is a highly simplified block diagram of a prior art
     square mot of hour of the gyroscope may be less than 0.02
                                                                           single-axis fiber optic gyroscope;
     degrees.
                                                                              FIG. 2 is a detailed block diagram of a transceiver subas-
        The noise tolerance of the gyroscope may be selected by
                                                                      1~ sembly in a prig ari single-axis fber optic gyroscope;
    the user to a desired angular degrees random wall: per square
    root of hour.                                                             PIG.3 is a top plan view ofthe transceiver subassembly in
       '17~e length ofthe fiber optic loop may he greater than l 80        a prior art single-axis fiber optic gyroscope;
     meters.                                                                  FIG.4 is a detailed block diagram of the transceiver sub-
        The length ofthe fiberoptical loop ofthe gyroscope may be          assembly   in a single-a~cis fiber optic gyroscope according to
    selected by the user to a desired length.                        ,o the present disclosure;
        In another aspect of the invention, the present disclosure            FIG.5 is a top plan view ofthe transceiver subassembly of
    provides a transceiver subassembly for a fiber optic gyro-             FIG. 4; and
    scope including ahousing; anon-coherent light source dis-                 FIG.6 is an exploded perspective view ofan embodiment
    posed in the housing for producing a first beam of light; a            of a compact single-axis fiber optic gyroscope according to
    single focusing lens disposed in the housing directly adjacent zs the present disclosure.
    to the light source; a polarizing beam splitter disposed in the           The novel features and characteristics ofthe invention are
    housing and disposed in the path ofthe first beam oflight for          set forth in the appended claims. The invention itself, how-
    producing a second and a third beam respectively, with polar-          ever, as well as other features and advantages thereof, will be
    ization orthogonal to each other; a monitor photodiode dis-            best understood by reference to a detailed description of a
    posed in the housing and disposed in the path ofthe second 3o specific embodiment, when read in conjunction with the
    beam to monitor the intensity ofthe second beam; a Faraday             accompanying drawings.
    rotator dispored in the housing and disused in the path ofthe
    third beam; a single inpudoutput optical fiber directly adja-              DETAILED DESCRIPTION OF THE PREFERRED
    cent to and optically coupled to the Faraday rotator; and a                                    ~MII~DIMLNT
    receiver photodiode disposed in the housing and coupled to 3~
    the Faraday rotator for receiving an input optical signal from            Details of the present invention will now be described,
    the inpuUoutput optical fiber.                                        including exemplary aspects and embodituents thereof.
       The polarizing beam splitter can directthe S polarization of       Referring to the drawings and the following description, like
    the initial beam of light from the incoherent source through          reference numbers are used to identify like or fiinctionally
    and into the Faraday rotator.                                    4o similar elements,and are intended to illustrate major features
       The polarizing beaiu splitter eau directtheP polarization of       of exemplary embodiments in a higlily simnplified diagra~-
    the initial beam of light from the incoherent source onto a           matic manner. Moreover, the drawings are not intended to
    power monitoring photodiode.                                          depict every feature of actual embodiments or the relative
       The polarizing beam splitter may direct the return light of        dimensions of the depicted elements, and are not drawn to
   the P polarization to the receiver photodiode.                    4s scale.
       The optical circulator can include a Faraday rotator,and the          FIG.1 depicts a highly simplified diagram ofasingle-axis
   polarizing beam splitter can couple the light ofS polarization         fiber optic gyroscope (FAG) transceiver subassembly as is
   to the Faraday rotator.                                                known in the prior art. The diagram shows afiber-coupled
       A monitor photodiode can be coupled to the polarizing              broadband source,e.g. a super luminescent diode(SLD)101
   beam splitter for monitoring the light ofP polarization from so for producing anon-coherent beam oflight, and a directional
   the light source.                                                      coupler 102 in the path of the beam. A lithium niob ate
       The transceiver module may include a single input/output          (LiNbO~)phase modulator or FOG chip 105 is provided in a
   optical fiber coupled to the optical circulator.                       first path 104 from the output ofthe directional coupler,and a
       The single inpudoutput optical fiber may terminate in a pig        power monitoring photodiode 103 is provided in a second
   tail.                                                             ss path 110 from the output of the directional coupler. A fiber
       The single inpudoutput optical fiber may be coupled to a           loop or coi1108 with a fiber having a first 106 and second 107
   lithium niobate modulator having an input optical fiber which         end is coupled to the output ofthe phase modulator 105.
   may be spliced to the end of the pig tail input/output optical            Light from the SLD 101 is split in the Yjunction of the
   fiber extending from the transceiver.                                  phase modulator 105 and each path through the phase modu-
       The transceiver module may include a single lens disposed 60 lator is modulated before being applied to the first 106 and
   adjacent to thenon-coherent light source forcoupling the first        second 10? ends ofthe fiber loop 108 and counter-propagated
   beam from the light source through the oprical circulator to          through the coil. The optical signals then pass back through
   focus an the inpuUoutput optical fiber.                               the phase modulator 105,are recombined in theyjunction ui
       The Faraday rotator may change the polarization ofthe S           the phase modulator and propagate back along path 104to the
  'polarized return sixth and seventh beams to a P polarized 6s directional coupler 102, whereby the return optical beam is
   eighth Ueam,and the polarizing beam splitter may then direct          then focused onto a receiving photcxiiode lU9 where the
   the P polarized eighth beam to the receiver photodiode.               intensity produces an electrical signal. The electrical signal is

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     processed externally ofthe transceiver subassembly to com-         duces an electrical output directly connected to an internal
    pute the rotation rate ofthe coil 108 to provide inertial guid-     TLA 215 and provides a typical gain of 10,000.
    ancy information.                                                      FIG.4 is a higlily sunplified diagram ofasingle-axis FOG
        Rotation in the plane of the fiber coil induces a change in     transceiver subassembly 400 with a single focusing lens 401
    the phase relationship ofthe two counter propagating beams, s for focusing the light beam from the SL.D 201 onto the optical
    known as the Sagnac effect. The phase change maybe mea-            circulator (implemented with a polarizing beam-splitter, or
    sured as an intensity fluctuation on the receiving photodiode      PIIS,and a Faraday rotator 207),according to an embodiment
    and further processing of the electrical signal may be used        ofthe present disclosure. The focusing lens 401 is positioned
    directly to determine the rotational rate ofthe coil. Since there  in the optical path between the SLD 201 and the optical
    is only one fiber loop and one plane, such measurement is a io circulator instead of using a collimating lens,and focuses the
    one-axis inertial measurement.                                     light beam over the uptical path from the SLD 201 through the
        FIG.2 depicts a more detailed block diagram ofa prior art      optical circulator including the Faraday rotator 207 to an
    single-axis FOG transceiver subassembly 200. In an effort to       optical focus point at the end 403 of the polarization-main-
    decrease cost, size, and parts count,the SLD 201, a collimat-      taining input/output optical fiber 402 for optically coupling
    inglens 202,an optical circulator(implemented with a polar- is the light beam to exterior ofthe POG assembly 400.This way,
    izingbeam-splitter,or PBS 203,and a Faraday rotator 207), a        the focusing GRIN lens conventionally placed in the light
    power monitoring photodiode 205, a receiver photodiode             path between the Faraday rotator 207 and the internal fiber
    214, and atrans-impedance amplifier (TIA) 215 are inte-            402 (e.g. the focusing GRIN lens 208 in FIG. 2) and the
    gratcd into an e~ctremely small housing or form factor pack-       collimating lens conventionally placed in the optical path
    age 200.One optical output beam ofthe PBS 203 is coupled zo between the SLD 201 and the optical circulator(e.g.lens 202
    through a Faraday rotator 207, which is in turn coupled to a       in FIG.2)need not be utilized in the subassembly. Eliminat-
    focusing GRIN leas 208 which couples the beaus emanating           ing the additional lens may permit easier aligunuent and be
   from the Faraday rotator 207 to the I/O optical fiber 209           able to permit a smaller form factor package. The inpuU
    extending fmm the housing 200.Anotheroptical output beam           output optical fiber 402 typically terminates in a "pig-tail"
    204 ofthe PBS 203 is coupled to a monitor photodiode ZOS. 2s exterior ofthe FOG transceiver subassembly 400,whereby in
    Outputs 216 ofthe trans-impedance amplifier(TIA)215 are            some embodiments it may be spliced to the modulator 210 or
    coupled the external processing circuitry.                         other optical components.
       The subassembly 200 fiirther includes a thermal control            The subassembly 400 fiurther includes a thermal control
    unit 217 including a thermal electric cooler(TEC)218 and a         unit 217 including a thermal electric cooler(TEC)218 and a
    thermistor 219. The TEC 218 extends over the length of the so therniistor 219. The TEC 218 extends over the length ofthe
    unit incorporating the SLD 201, collimating lens 202, PBS          unit incorporating the SLD 201,focusing lens 401,PBS 203,
    2U3, and h'araday rotator 207, and GRIN lens 2(!S so as to         and Faraday mtatcir 207 so as to maintain a uniform tempera-
    maintain a uniform temperature over all subcomponents.             tureover all subcomponents.
       One such embodiment of such asingle-ass FOG trans-                 FIG.5 is a top plan view ofthe rOG assembly 400 shown
    ceiversubassembly 200is a commercial productknown as the 35 in FIG.4 with the lid ofthe housing 404 removed to show the
    FOG PB3010 transceiver module manufactured by Emcore               internal components. The focusing lens 401 is positioned
    Corporation in Alhambra, Calif.                                    between the SLD 201 and the optical cuculatur as described
       FIG.3 is a top plan view ofthe prior art FOG shown in FIG.      above. The PBS 203 component of the optical circulator is
   2 with the lid of the housing removed to show the internal          disposed in the path ofthe light beam from the focusing lens
   components.The Figure depicts the SLD 201,and a collimat- ao 401, and the transmitter monitor photodiode 205 located on
   ing lens 202 adjacent thereto. A polarizing beaiu-splitter or      one side of the PBS 203, and the receiver photodiode 214
   PBS 203 is disposed in the path of the beam from lens 202,         located on a printed circuit board on the other side ofthe PBS
   and the transmitter monitor photodiode 205 located nn one          203. Atrans-impedance amplifier ('1'IA) 215 is mounted nn
   side ofthe PBS 203,and the receiver photodiode 2141ocated          the printed circuit board and coupled to the photodiode 214
   on a printed circuit board on the other side ofthe PBS 203.A 4s for producing the output electrical signal. The optical output
   trans-impedance amplifier (TIA) is also mounted on the             beam from the PBS 203 is coupled through a Faraday rotator
   printers circuit board,and is coupled to the photodiode 214 to     207, which is in turn directly coupled to internal fiber 402
   produce the output electrical signal. The optical output beam      which couples to the external UO optical fiber 402 extending
   of the PBS 203 is coupled through a Faraday rotator 207,           from the housing 404.
   which is in turn coupled to a focusing GRIN lens 208 which su          FIG.6 is an exploded perspective view of an embodiment
   couples the beam emanating from the Faraday rotator 207 to         ofa single-axis fiber optic gyeoscope according to the present
   the I!O uplical fiber extending from the housing 200.              disclosure. The unit includes a metallic housing formed from
       In the device illustrated in FIGS.2and 3,96% ofthe optical     a base plate 601 and a top cover 602.In one embodiment,the
   output from the SLD 201 is intheout-of-planepolarization(S         housing may be cylindrically shaped having dimensions of80
   polarization)while the remaining 4%is in the in-plane polar- ss mm in diameter and 20 mm in height.In one embodiment,the
   ization (P polarization). The polarizing beaus splitter 203        weight ofthe entire gyroscope is 160grams.The housing may
   reflects the P polarization from the SLD 201 onto the power        be composed of a suitable magnetically shielding material.
   monitoring photodiode 205 but passes the S polarization. The           The base plate 601 inchides an annular cavity 603 around
   light then passes through the Faraday rotator 207 unaltered        the periphery thereof for securing a portion of the fiber coil
   and is coupled at 211 into the fiber 213 with a lens 208.from 60 604.In one embodiment,the fiber coi1604 may be 200 meters
   this point the S polarized light travels through the rest ofthe    in length, in which case the gyroscope may be considered a
   fiberloop 213 until it returns at the second end 212in the same    low accuracy model. In another embodiment, the fiber coil
   polarization state as when it left. When the licit passes          604 may be 500 to 1000 meters in length, in which case the
   through the Faraday rotator 207 in this direction (i.e. back       gyroscope may be considered a medium accuracy model. In
   towards the SLD 201)the polarization is rotated into the P 6s another embodiment, the fiber coil 604 may be over 2 kilo-
   state. "1'he polarizing beam splitter 203 then reflects the opti-  meters in length, in which case the gyroscope may he con-
   cal return signal onto the receiving photodiode 214 that pro-      sidered ahigh accuracy model.

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       The base plate 601 further includes a support or mount605               may be fabricated and/or packaged into integrated elements.
    for mounting the phase modulator 210. Above the base plate                By way of particular example, the use of integrated
    601 is a first printed circuit board606 on which the transceiver          waveguides and associated structures is envisioned for the
    and other electronic components may be iuounted. Above the                described structures and arrangements. Alternatively,the dis-
    first printed circuit board 606 is a second printed circuit board      s Crete elements, i.e., lasers, splitters, combiners, mirrors,
    607 which includes the processor 608 and other digital com-               lenses, shifters, etc. may also be individually-packaged in
    ponents, and an external input/output connector 609 which                 modules with optical fiber interconnects to achieve the same
    extends through an opening 610 in the top cover602.The first              topology and functionality.
    printed circuit board 606 and the second printed circuit board               Reference throughout this specification to "one embodi-
                                                                          io ment" or "an embodiment" means that a particular feature,
    607 may be connected by aninter-board electrical connector
                                                                              structure, or characteristic described iu connection with the
    611.In one embodiment the processor may be a digital signal
                                                                              embodiment is included in at least one embodiment of the
    processor having a sufficiently high clock rate or processing
                                                                              present invention. Thus, the appearances of the phrases "in
    speed to allow rate changes in the angular orientation of the
                                                                              one embodiment' or "in an embodiment' in various places
    fiber coi1213 of greater than 2000 degrees, and up to 3000
                                                                          is throughout this specification are not necessarily all referring
    degrees per second, or more,to be processed and reported.                 to the same embodiment. Furthermore, the particular fea-
       Depending upon the length of the fiber coil the housing
                                                                              tures, structures, or characteristics may he combined in any
    maybe suitably sized in both diameter and height,and appm-
                                                                              suitable manner in one or more embodiments.
    priate programming ofthe sof~~are associated with the pro-                   The foregoing described embodiments depict different
    cessor to account for the fiber coil length, the fiber optic          2n components contained within, or connected with, different
    gyroscope as described above may be specified to have the
                                                                              other components. It is to be understood that such depicted
    following performance parameters:
                                                                              arrangenieuts or architectures are merely exemplary, and that
                                                                              in fact many other arrangements or architectures can be
                                  TABLE                                       implemented which achieve the same functionality.ln a con-
       Coil length  Rotnlionnl Rate Drift             Noise               2s ceptual sense,any arrangement ofcomponents to achieve the
                                                                              same functionality is effectively "associated" such that the
       200 meters     U.5 degrees/hour    0.0200 deerees/square root-hour     desired functionality is achieved. Hence, any two compo-
      1200 meters    0.01 degrees/hour    0.0017 degrees/square root-hour
                                                                              nents herein combined to achieve a particular fitnctionality
                                                                              can be seen as "associated with" each other such that the
       Thus, one embodiment of a fiber optic gyroscope as 3n desired fiuictionality is achieved, irrespective of specific
    described above has a rotational rate dri$ of less than 0.0]              structures, architectures or intermedial components. Like-
    degrees per hour. and noise, measured in angular degrees                  wise,any two components so associated can also be viewed as
    random walk per square root of an hour, ofless than 0.0017                being "operably connected" or "operably coupled" to each
    degrees per square-root-hour.                                             other to achieve the desired functionality.
      In some embodiments, the rotational rate has a drift of 3s                 It will be understood by those within the art that,in genera],
    between 0.005 and 1.0 degrees per hour.                                  terms used herein, and especially in the appended claims
      In some embodiments, the noise measured in angular                    (e.g., bodies of the appended claims) are generally intended
    degrees random walk per square root ofhour is between 0.001               as "open'' terms (e.g., the term "including" should be inter-
   and 0.02 degrees.                                                          preted as "including but not limited to," the term "having"
      In some embodiments, the length of the fiber coil is ao should be interpreted as"having at least,"the term "includes"
   between 100 m and 2 km.                                                   should be interpreted as "includes but is not limited to;'
      In some embodiments, the drift of the rotational rate, the            "comprise" and variations thereof, such as,"comprises" and
    noise measured in angular degrees random walk per square                "comprising"are to he construed in an open,inclusive sense,
   root ofhour,and the length ofthe fiber coil, may be adjusted              that is as"including, but not limited to,"etc.). It will be further
   or sclectod by the user to achieve a desired performance or as understood by those within the art that ifa specific number of
   operational capability.                                                   an introduced claim recitation is intended,such an intent will
      The present disclosure contemplates that the fiber coil                be explicitly recited in the claim, and in the absence of such
   length selected, and the software appropriately programmed                recitation no such intent is present. For example, as an aid to
   for the fiber coil length, so the fiber optic gyroscope as                understanding, the following appended claims may contain
   described above may be operationally specified to meet the so usage ofthe introductory phrases "at least one" and "one or
   customer's or application's desired performance parameters                more" to introduce claim recitations. However, the use of
   substantially within the ranges suggested above using cur-                such phrases should nut be construed to imply that the intro-
   rently available components.                                              duction ofa claim recitation by the indefinite articles "a" or
      While the present disclosure illustrates and describes a              "an" limits any particular claim containing such introduced
   fiber optic gyroscope, it is not intended to be limited to the ss claim recitation to inventions containing only one such reci-
   details shown, since various modifications and structural                 tation, even when the same claiiu includes flee introductory
   changes may be made without departing in any way from the                 phrases"one or more"or"at least one"and indefinite articles
   spirit of the present disclosure.                                         such as"a"or"an"(e.g.,"a"and/or"an" should typically be
      It will be understood that each of the elements described              interpreted to mean "at least one"or"one or more");the same
   above,or two or more together, also may find a useful appli- 6o holds true for the use of definite articles used to introduce
   cation in other types ofconstructions differing from the types            claim recitations. In addition, even ifa specific number ofan
   described above. In particular, certain configurations pre-               introduced claim recitation is explicitly recited, those skilled
   sentedaccording to particular aspects ofthe present invention             in the art will recognize that such recitation should typically
   have been shown and described as discrete elements, i.e.,                 be interpreted to mean at least the recited nuiuber (e.g., the
   lasers, splitters, combiners, mirrors, lenses, shifters, fiber 6s bare recitation of"two recitations," without other modifiers,
   optical cable, etc.'Those skilled in the art will readily appre-          typically means at least two recitations, or two or more reci-
   ciatethat many or all ofthese individual,discrete components              tations).

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      Spatially relative terms such as"under","below","lower",                  an inpuboutput connector operatively coupled to the pro-
   "over","upper",and the like, are used for ease ofdescription                    cessorand configured to at least report inertial guidance
   to explain the positioning ofone element relative to a second                   information. wherein the external input/output connec-
   element. These terms are intended to encompass different                        tor extends through the inpuboutput opening ofthe top
   orientations ofthe device in addition to dii~erent orientations s               cover portion.
   than those depicted in the figures. Further, terms such as                   2. A compact fiber optic gyroscope as defined in claim 1,
   "first","second",and the like, are also used to describe vari-           wherein the first housing is cylindrically shaped having
   ouselements,regions, sections, etc. and are also not intended            dimensions ofapproximately 80 mm in diameter and 20 mm
   to be limiting.                                                          in height.
      Without further analysis,from the foregoing others can,by iu              3. A compact fiber optic gyroscope as defineci in claim 1,
   applying current knowledge,readily adapt the disclosed tech-             wherein the weight of the gyroscope is 160 prams or less.
   nology for various applications. Such adaptations should and                4. A compact fiber optic gyroscope as defined in claim 1,
   are intended to be comprehended within the meaning and                   wherein the second housing is a hermetically sealed butterfly
   range of equivalence ofthe following claims.                             package.
                                                                        i~     5. A compact fiber optic gyroscope as defined in claim 1,
      What is claimed is:                                                   wherein the transcei~~er module includes a single input/output
      l. A compact fiber optic gyroscope comprising:                        optical fiber coupled to the optical circulator.
      a first housing defining an interior and comprising:                     6.A compact fiber optic gyroscope as defined in claim 5,
         a base plate portion defining an annular cavity, and               wherein the single inpuboutput optical fiber terminates in a
         a top cover portion configured to be coupled to the base 20 pig tail.
             plate portion to define the interior ofthe first housing,         7. A compact fiber optic gyroscope as defined in claim 1,
             wherein the top cover portion defines an input/output          wherein the first housing is cyluidrically shaped.
            opening;                                                           8.A compact fiber optical gyroscope as defined in claim 1,
      a planar optical fiber loop having a first end. and a second          wherein the phase modulator is a lithium niobate modulator.
         end and at least partially secured by the annular cavity of 2s        9. A compact fiber optic gyroscope as defined in claim 1,
         the base plate portion, wherein the planar optical fiber           wherein the phase modulator has an output pair of optical
         loop is disposed in the first housing around the periphery         fibers, one of which is spliced to the first end of the planar
         of the interior of the first housing and defines an inner          optical fiber loop and the other of which is spliced to the
         circumference;                                                     second end of the planar optical fiber loop.
      a transceiver module disposed in tl~e interior of the first 30           10.A compact fiber optic gyroscope as defined in claim 1,
         housing within the inner circumference of the planar               wherein said optical circulator includes a polarizing beam
         optical fiber loop, wherein the transceiver module com-            sputter.
         prises:                                                               11.A compact fiber optic gyroscope as defined in claim 10,
         a second housing;                                                  wherein said optical circulator further comprises a Faraday
         anon-coherent light source disposed in the second hous- 3s rotator coupled to an output ofthe polarizing beam sputter.
            ing for producing a first beam of light;                           12.A compact fiber optic gyroscope as defined in claim 10,
         au optical circulator disposed in the second housing and           wherein the pularidng beam sputter duecls theP polarization
            in the path ofthe first beam oflight to produce polar-         ofthe first beam oflight from the light source onto the trans-
            ized second and third beams, with polarization                 mit monitor photodiode.
            orthogonal to each other;                                  ao      13.A compact fiber optic gyroscope as defined in claim 11,
         a focusing lens disposed in the second housing and posi-           wherein the polarizing beam sputter directs the S polarization
            tioned in an optical path between the non-coherent             ofthe first beam oflightfrom the light sourcethrough and into
            light source and the optical circulator to focus non-          the Faraday rotator.
            coherentlight from the non-coherent light source to a              14.A compact fiber optic gyroscope as defined in claim 11,
            focus point beyond the optical circulator; and             as wherein the Faraday rotator changes the polarization ofthe S
         first and second photodiodes disposed in the second               polarized return sixth and seventh beams to a P polarized
            housing and coupled to the optical circulator,wherein          eighth beam,and the polarizing beam sputter then directs the
            the first photodiode is a transmit monitor photodiode          P polarized eighth beam to the receiver photodiode.
            coupled to the second beam, and the second photo-                  15.A compact fiber optic gyroscope as defined in claim 1,
            diode is a receiver photodiode;                            so wherein the rotational rate has a drift of between 0.005 and
     a phase modulator mounted nn the base plate portion and               1.0 degrees per how.
        disposed in the inferior of the lust housing within the                16.A compact fiber optic gyruscope as defined in claim 1,
        inner circumference ofthe planar optical fiber loop and            wherein the noise measured in angular degrees random walk
        coupled to the third beam from the transceiver module to           per square root of hour is between 0.001 and 0.02 degrees.
        produce fourth and fifth beams coupled to the first and ss             17.A compact fiber optic gyroscope as defined in claim 1,
        the second ends, respectively, of the optical fiber loop,          wherein the length ofthe fiber optic loop is between 100 m
        and receiving return sixth and seventh beams from the              and 2 km.
        second and the first ends, respectively,ofthe fiber loop,              18.A compact fiber optic gyroscope as defined in claim 1,
        and coupling the return sixth and seventh beams to the             wherein the processor is software progranunable to take into
        receiver photodiode in the transceiver module;                 6o account the length ofthe optical fiber loop.
     a processor disposed in the interior of the first housing                 19.A compact fiber optic gyroscope as defined in claim 1,
        within the inner circumference ofthe planar optical fiber          further comprising:
        loup and cuupleci to t ie receiver photodiode fur deter-               a first printed circuit board wupleci to the base plate por-
        miniug aphase relationslvpbetween the return sixth and                    tion;
        seventh beams and thereby determining the rotational 6s               a second printed circuit board, wherein the processor and
        rate of the planar optical fiber loop with respect to an                  the inpuboutput connector is coupled to the second
        axis; and                                                                 printed circuit board; and

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     an inter-board electrical board connecting the first printed
       circuit board to the second printed circuit board.
                             * * ~




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                                AMERICAN ARBITRATION ASSOCIATION


   Phoenix Navigation Components, LLC,
                                                                         AAA Reference No.:
                             Claimant,
                                                                         HIGHLY CONFIDENTIAL
            v.
                                                                         FIRST AMENDED DEMAND
   EMCORE Corporation,
                                                                         FOR ARBITRATION
                             Respondent.
                                                                 i       Locale Requested: New York, NY

           Plaintiff Phoenix Navigation Components LLC ("Phoenix"), for its Demand for

   Arbitration("Demand") against EMCORE Corporation, alleges as follows:

                                         NATURE OF THE ACTION

            1.      A decade ago, EMCORE negotiated for and received the right to draw upon

   Phoenix's design expertise in the field of fiber optic gyroscope ("FOG")technology in order to

   competitively produce and market FOG products. Because EMCORE lacked the in-house

   knowledge and ability to develop these highly-specialized navigational devices —typically used

   in drones, missiles, and other devices sold to the military — it turned to the experts at Phoenix

   who collectively had decades of experience in the area. In exchange for Phoenix's services,

   EMCORE agreed to, among other things, (1) pay Phoenix royalties upon EMCORE's sale of

   FOGs incorporating Phoenix's technology, and (2) provide Phoenix with at least 25% of

   engineering activity on customer requests for custom FOG designs that are typically required for

   new customers or applications. The parties memorialized these terms in three agreements: a

   Me11101'~11C~L1111 Of U11C~eT'Sta1lC~lilg ~t~le "MOU"); the   EMP-1 FOG License Agreement (the "EMP-

   1 Agreement"); and the EMP-lk FOG License Agreement (the "EMP-lk Agreement")

  (collectively, the "Agreements"). True and correct copies of the Agreements are attached as




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   Exhibits A-C, respectively, each of which is designated highly confidential and is incorporated

   by reference as though fully set forth in this Demand.

              2.          Since 2008, and until recently, the parties had enjoyed a productive and symbiotic

   relationship. EMCORE paid Phoenix over $700,000 in royalties on approximately 700 products

   sold by EMCORE to its customers, and awarded Phoenix over $6.6 million in engineering work

   under multiple EMCORE purchase orders without any complaints regarding the work product.

   EMCORE also requested Phoenix's technical expertise and support for numerous customer

   visits, presentations, and proposals, and also for generation of technical papers and presentations

   at Institute of Navigation conferences. Because of Phoenix's contacts, expertise, reputation in

   the industry, marketing support, conference participation, and development of top-grade FOGs

   and other devices, EMCORE won numerous contracts from the government and prime

   contt-actors, and its prominence within the defense industry grew.

             3.          Now that ENCORE has made its name by using Phoenix-licensed technology, its

   management team, which has undergone anear-complete overhaul in recent months, no longer

   wants to abide by the deal ENCORE struck with Phoenix a decade ago. ENCORE is on the

   verge of securing the largest FOG and navigation defense contracts it has ever had, and it has set

   in motion a plan to oust Phoenix by running roughshod over the parties' contracts,

   misappropriating, using, selling, and even patenting Phoenix's technology without Phoenix's

   consent and without paying Phoenix royalties, and refusing to provide Phoenix with the

  engineering work to which it is entitled under the MOU. To execute its plan, ENCORE devised.

  a scheme, among other things: to withhold payment of over $90,000 in royalties that ENCORE

  I1L[S llll/1l /t1E'lI (l/•e   drre to Plioeni~; to file a meritless lawsuit against Phoenix in California state

  court, notwithstanding the parties' numerous agreements to arbitrate; to improperly terminate the




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   Agreements without allowing Phoenix the mandatory 60-day period in which to cure; and to

   publicly disparage Phoenix's well-earned reputation and proven technical ability.

          4.      EMCORE's actions since this arbitration was filed confirm its improper motive

   and give rise to additional claims. First, since Phoenix initiated this arbitration, EMCORE

  "rebranded" its product line in an attempt to bury the fact that it continues to sell Phoenix's

   licensed technology.    This process exposed for the first time to Phoenix that, years ago,

   EMCORE patented Phoenix's proprietary, confidential, and novel FOG technology without ever

   telli~:~ Phoenix. Through this arbitration, Phoenix seeks to correct inventorship for this patent,

   which claims technology independently developed by individuals at Phoenix and provided to

   EMCORE. Second, EMCORE voluntarily dismissed its jurisdictionally and substantively

   improper California lawsuit, but not until it forced Phoenix to incur significant legal fees to move

   to transfer that case in order to compel arbitration, and to stay or dismiss. These fees are

   recoverable and due to Phoenix under the Agreements. Third, recognizing it had breached the

   Agreements by purporting to terminate them for material breach without providing Phoenix any

   notice or opportunity to cure, on July 16, 2018, ENCORE allegedly re-noticed its termination,

   this time "for convenience." In doing so, ENCORE committed several more breaches of the

   Agreements, by failing to provide Phoenix with the requisite notice and royalty reports, and

   because it continues to sell Phoenix's technology. Fourth, ENCORE breached the Agreements

   by missing yet another quarterly royalty payment dt~e to Phoenix on July 31,?018.

          5.      The above shows that ENCORE believes that it can, with impunity, engage in

  conduct prohibited by the Agreements while purporting to retain the right to sell Phoenix-

  developed technology, but without paying contractually-required royalties.             EMCORE's

  unilateral and blatant attempt to misappropriate Phoenix's technology and to use illegitimate




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   tactics to force Phoenix into submission violates Phoenix's rights, breaches EMCORE's

   obligations under the Agreements, and is in consummate bad faith.

          6.      Phoenix brings this action to recover- for- damages it has suffered as a direct and

   proximate result of EMCORE's unlawful, illegal, and improper acts, including its numerous,

   material, bad faith, repeated, and ongoing breaches of the Agreements. Phoenix also seeks

   declaratory relief that the Agreements remain in full force and effect, that the non-competition

   provision of the MOU is voided by EMCORE's conduct, and that the Arbitrator correct

   inventorship on Patent No. 8,773,665 by finding that Phoenix employees Glenn Gage and Robert

   Hansen, and not ENCORE employees Mr. Ronald T. Logan, Jr. and Ka Kha Wong, are the true

   inventors of the technology claimed in the patent. Finally, Phoenix seeks injunctive relief that

   ENCORE be enjoined from selling Phoenix's technology without paying the required royalties

   to Phoenix, and that it be compelled to offer Phoenix, at a minimum, 25% of engineering work

   per the MOU.

                                              PARTIES

          7.      Plaintiff Phoenix Navigation Components LLC is anine-employee Massachusetts

   limited liability company with a principal place of business in Walpole, Massachusetts. Phoenix

   is comprised of industry-leading experts engaged in the design and building of FOGS and FOG

   prototypes. Phoenix was formed in June 2008 by a core group of key engineers from Northrop

  Grumman Corporation's ("NGC") Navigation Systems Division in Massachusetts following the

  facility's relocation to California. Phoenix's engineers have, collectively, many decades of

  experience in the FOG industry.

         8.       Defendant ENCORE Corporation is a New Jersey corporation with a principal

  place of business in Alhambra, California. EMCORE's stock is publicly traded under NASDAQ

  ticker EMKR. In fiscal year 2017, ENCORE had over $122 million in revenue. For nearly a


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   decade, EMCORE manufactured and sold FOGs designed and developed by Phoe~lix and

   continues to do so.

                                       ARBITRATION AGREEMENT

           9.       Each of the Agreements require the parties to arbitrate their disputes in New York

   City, New York,"under the rules and regulations of the American Arbitration Association."

            10.     The MOU's arbitration clause states in its entirety:

                    13      GOVERNING LAW/JURISDICTION
                    All disputes under this Agreement that cannot be resolved by the
                    parties shall be submitted to arbitration in New York City, NY,
                    under the rules and regulations of the American Arbitration
                    Association. Either party may invoke this paragraph after
                    providing 30 days written notice to the other party. The prevailing
                    party in any litigation or arbitration commenced to enforce or
                    construe the terms of this Agreement shall be entitled to collect
                    from the other party its actual litigation costs, including reasonable
                    attorneys' fees. All costs of arbitration shall be divided equally
                    between the parties. Any award may be enforced by a court of
                    law. This Agreement shall be governed by the laws of the State of
                    New York.

           1 1.     The EMP-1 Agreement's arbitration clause states in its entirety:

                    11       ARBITRATION.

                    All disputes under this Agreement that cannot be resolved by the
                    parties shall be submitted to arbitration in New York City, NY,
                    under the rules and regulations of the American Arbitration
                    Association. Either party may invoke this paragraph after
                    providing 30 days written notice to the other party. The prevailing
                    party in any litigation or arbitration commenced to enforce or
                    construe the terms of this Agreement shall be entitled to collect
                    from the other party its actual litigation costs, including reasonable
                    attorneys' fees. All costs of arbitration shall be divided equally
                    between the parties. Any award may be enforced by a court of
                    law.l

           12.      The EMP-1 k Agreement's arbitration clause states in its entirety:


  'Section 22 of the EMP-1 Agreement further states that "[t]his Agreement shall be governed by the laws of the
  State of New York."



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                    8       ARBITRATION.

                    All disputes under this Agreement that cannot be resolved by the
                    parties shall be submitted to arbitration in New York City, NY,
                    under the rules and regulations of the American Arbitration
                    Association. Either party may invoke this paragraph after
                    providing 30 days written notice to the other party. The prevailing
                    party in any litigation or arbitration commenced to enforce or
                    construe the terms of this Agreement shall be entitled to collect
                    from the other party its actual litigation costs, including reasonable
                    attorneys' fees. All costs of arbitration shall be divided equally
                    between the parties. Any award may be enforced by a court of
                    law.2

           13.      Because EMCORE purported to terminate the Agreements on May 10, 2018,

   Phoenix is excused from the 30-day requirement to provide written notice before commencing

   arbitration.

                                        FACTUAL BACKGROUND

   ENCORE rrizd Phoe~tix Enter i~tto the MOU Because ENCORE Lacks the Iji-Hocrse
   Capability to Deliaiz uird Develop FOGS

           1 4.    In December 2006, at a meeting at NGC's Massachusetts facility, ENCORE

   learned that the NGC facility would be closing and that key engineers would be forming

   Phoenix. In or about April ?008, ENCORE sought out and approached a Phoenix member and

   indicated that it had a potential client interested in acquiring a FOG.

           15.     Shortly thereafter, ENCORE and Phoenix entered into a Non-Disclosure

   Agreement ("NDA"), dated June 24, 2008, in order to "develop[] a [FOG] that will be

   manufactured and sold by ENCORE under a separately negotiated license agreement between

   ENCORE and [Phoenix]."3 Following execution of the NDA,Phoenix designed a custom FOG




  2 Section 20 of the EMP-1k Agreement further states that "[t]his Agreement shall be governed by the laws of the
  State of New York."
  3 The NDA is attached hereto as Exhibit A to the MOU. The NDA establishes a duty of care requiring ENCORE to
  "preserve in confidence" all proprietary information Phoenix may provide it and to exercise "at least the same



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   product, which was named the EMP-1. EMCORE reviewed and became satisfied with the

   design.

             16.   Between late-June 2008 and December 29, 2008, the date of the EMP-1

   Agreement, EMCORE conducted due diligence on Phoenix, and thoroughly scrutinized and

   became satisfied with Phoenix's business, know-how, technical capabilities, and intellectual

   property. EMCORE's in-house counsel at the time and Dr. KK Wong, EMCORE's Manager,

   Specialty Products, were former employees of NGC's Navigation Systems Division; they were

   fully familiar with FOG and IMU technologies and capable of assessing their origins and

   viability. NGC was previously a leading supplier of FOG technology.

             17.   On December 29, 2008, seven months after EMCORE began to scrutinize

   Phoenix's business and technical expertise, the parties entered into the MOU,through which the

   parties proclaimed that the "overall objective of the parties' relationship is to initially combine

   the [FOG] and Inertial Measurement Unit (IMU) design capability of Phoenix with the fiber

   optic component design and assembly capability of EMCORE in order for EMCORE to

   competitively produce and market FOGs." MOU ~ 1. The parties further agreed to "jointly

   develop and build EMP-1 FOG prototypes," and that "with a concerted effort by Phoenix and

   EMCORE . .. the first Prototype FOG [would) be operational by January 31, 2009." MOU ti

   2.1. In fact, the parties met this goal.

           18.     Notably, it was "assumed that the FOG electronics and mechanical design may

   require significant revision to satisfy particular customer requirements." Id. at § 2.2.




  degree of care used to restrict disclosure and use of[EMCORE's] own confidential and proprietary information."
  NDA at § 4 (further requiring EMCORE to receive written permission from Phoenix to disclose its information to
  any third party). As explained herein, EMCORE breached the MOU, including the NDA, and its duty of care by
  misappropriating and disclosing Phoenix's confidential and proprietary information to third-parties without
  Phoenix's consent.



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           19.    EMCORE agreed in the MOU to share with Phoenix certain customer requests for

   custom FOG and IMU designs: "Any such [customer request for custom FOG designs] to

   Phoenix, or EMCORE will be shared with the other company .... [I]f the customer is paying

   for non-recurring engineering expenses, . . . , it is intended that Phoenix be responsible for not

   less than 25% of the engineering activity determined by the proposed hours exclusive of

   production." MOU §§ 2.4, 2.5.

          20.     Although the MOU required EMCORE to give only 25% of that engineering

   activity to Phoenix, because EMCORE did not have the in-house expertise to perfot-~n the

   remaining 75%, Phoenix often received upwards of 50% or more of the activity on these

   projects. These activities were governed by the terms of the MOU.

          21.     Since 2008, EMCORE has issued to Phoenix nearly 50 purchase orders —totaling

   over $6.6 million —for engineering work.        A portion of this engineering work related to

   customizing designs foi- customer applications, while the remainder related to, among other

   things, participating in design reviews and building and testing prototype units that used

   Phoenix-licensed technology or derivatives of that technology. The purchase orders did not

   include performance specifications, statements of work, detailed requirements or any list of

   deliverable data items regarding the tasks to be performed by Phoenix. The work product from

  each and every purchase order was reviewed and approved for payment by EMCORE's

  engineering department.

          22.    The volume, scope, and dollar amount of the purchase orders is directly

  attributable to the fact that EMCORE lacked an adequate in-house ability to perform customer

  sl~pport, design, and development testing on its deliverable prototype units.         Indeed, the

  electronics foi- a FOG embody extreme precision and consist of at least eight unique functions,




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   the majority of which EMCORE had no ability to perform on its own, and which it continues to

   lack the ability to do. Those functions include, but are not limited to:

                1.   FOG Detector Processing;.
                2.   Phase rebalance servo, DSP-based;
                3.   Phase rebalance servo, FPGA-based;
                4.   Integrated Optical Circuit Drive;
                5.   Gain Control Servo;
                6.   FOG Light Source Servo;
                7.   Light Source Temperature Control Servo; and
                8.   Light Source Temperature Compensation Algorithms.

          23.        Phoenix added substantial value to EMCORE because it essentially served as its

   on-call FOG business development, engineering, and product development department. Among

   other things:

                • Phoenix drafted the original systems design concepts briefed and proposed by
                  EMCORE to its potential customers;

                • Upon EMCORE's receipt of a contract, Phoenix customized its licensed
                  technology to satisfy EMCORE's customers' requirements and then drafted the
                  material to be used in Preliminary, Final Design Reviews, and Technical
                  Interchange Meetings;

                • Phoenix provided to EMCORE detailed mechanical drawings for each customized
                  part and circuit schematics customized for the circuit boards necessary to meet the
                  mechanical requirements provided by EMCORE's customers;

             • Phoenix then built and tested prototype units for these custom applications and
               tested them over a range of environments to simulate a particular customer's
               application;

             • Phoenix provided EMCORE's production personnel with draft assembly plans
               and procedures and trained EMCORE's assembly workers; and

             • Phoenix further provided acceptance test plans, procedures, and data reduction
               algorithms for FOGs.

          24.        Since at least 2008, EMCORE has failed to properly staff and maintain a

   functioning team of FOG engineers, and has failed entirely to hire a professional mechanical




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   design engineer. Even when EMCORE did hire FOG engineers, they had no FOG experience

   when they were hired and were soon tet-minated, laid off, or reassigned by EMCORE. Phoenix

   knows that these engineers had no practical FOG experience because Phoenix trained and

   coached them. Indeed, because of this training, the amount of time, effort, and resources

   Phoenix expended went well beyond anything envisioned by the parties at the time they executed

   the Agreements.

          25.    Notwithstanding EMCORE's lack of institutional ability to design, develop, and

   test a FOG or IMU,EMCORE has begun to tout Phoenix's support as its own. For example,just

   seven days before improperly ternlinating the Agreements, in a May 3, 2018 press release

   announcing a new contract with one of EMCORE's "most important customers," EMCORE's

   Vice President and General Manager of Aerospace & Defense stated that "EMCORE

   demonstrated the versatility to configure its IMU technology to be distributed within the

   customer's tight volume and space constraints, which was integral to being selected for this

   program." However, Phoenix produced mechanical designs of all the FOG and IMU products

   listed on EMCORE's website, including the product referenced in the press release, with the

   exception of the HawkeyeT"' FOG, discussed further below, which appears to have been derived

   or modified from Phoenix-licensed technology.

          26.    Knowing that it lacked the ability to design, develop, and test a FOG of its own,

   EMCORE nevertheless assumed various responsibilities pursuant to the MOU. For example,

  EMCORE agreed to provide "circuit card layout and routing," and to procure "or manufacture ..

  . all materials for the prototypes," including Integrated Optical Circuits ("IOCs"). MOU § 4.2.

  However, EMCORE could not fulfill even this limited obligation and repeatedly failed to

  provide fully functional IOCs. Phoenix expended substantial resources identifying the major




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   deficiencies in EMCORE's IOCs, and proposing how to screen out defective units prior- to

   incorporating them into FOGs.

          27.     To induce Phoenix into entering into the MOU,EMCORE also made certain other

   representations, including that it would loan to Phoenix equipment necessary to develop, debug,

   and evaluate FOGS. Id. at ~ 4.2.4. That equipment included, but is not limited to: standard

   electronics laboratory equipment; a thermal chamber; and a single axis rate table. In fact,

   EMCORE only provided minimal, old, obsolete equipment, and never provided Phoenix with a

   single axis motion table. ENCORE nevertheless acquired a used single axis motion table for its

   own use, but it is not suitable for volume batch production and has failed multiple times.

   Phoenix raised issues with ENCORE about its failure to provide proper equipment, and

   ENCORE responded that the necessary equipment was not in EMCORE's budget. Because

   ENCORE failed to provide the requisite equipment to Phoenix, Phoenix was required to procure

   the equipment on its own, and at great expense. That equipment included, but is not limited to:

   oscilloscopes; spectrum analyzers; power supplies; data acquisition devices; thermal chambers;

   two rate tables; positioning tables; fiber splicers; microscopes; solder station; an autocollimator;

   and a nano ammeter that it has loaned to ENCORE, since it was critically needed but          IlOt   in

   EMCORE's budget. ENCORE is still in possession of the nano ammeter.

          28.     Critically, in exchange for EMCORE's promises iil the MOU, P1loenix agreed to

  "deal exclusively with ENCORE with respect to FOGs, FOG based IMUs, and related FOG

   based navigational product developments." Id. at § 11. "As an inducement for ENCORE to

  enter into [theJ MOU and the License Agreement and as additional consideration for the

  consideration to be paid to Phoenix," Phoenix and its then-members also agreed that "[d]uring

  the term of [the] MOU and for a period of two (2) years after the termination of the License




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   Agreement" they would not, among other things, "be employed by, or render services or advice

   or other aid to, any person or entity engaged in or planning to become engaged in a business that

   offers or is affiliated with a business that offers FOGs and/or FOG Based IMUs ...." Id.

          29.     The MOU also set forth termination procedures. Specifically, the MOU: "may

   be terminated by either party upon termination of the License Agreement between Phoenix, LLC

   and EMCORE." Id. at § 7 (emphasis added). Because EMCORE has not properly terminated

   the MOU, it remains in effect and EMCORE is in breach for failing to provide engineering

   activity and equipment to Phoenix as explained herein.

          30.     Finally, the MOU contemplated that the parties would enter into subsequent

   agreements for EMCORE to license Phoenix's technology. In particular, EMCORE agreed that,

  "[u)nder a separate agreement, Phoenix will provide EMCORE a license for EMCORE to

   manufacture and sell EMP-1 FOGs." Id. at ~~' 3.2. These agreements are discussed below.

          31.    Phoenix performed each of and dutifully abided by its obligations under the

   MOU.

   EMCORE Agrees to Pay Plioe~iix Royalties on Plioe~~i~-Dei~eloped FOGs acid De~~i►~uti►~es in
   tlz e EMP-1 Ag~~ee»z ent

          32.    Following EMCORE's months-long review of Phoenix's intellectual property and

   EMP-1 prototype design, on December 29, ?008, the parties entered into the EMP-1 Agreement,

   whereby EMCORE agreed that "Phoenix owns [FOG] technology embodied in the EMP-1 FOG'"

   described in the attachments thereto. EMP-1 Agreement § 2. EMCORE also acknowledged that

   "Phoenix owns or has in its possession certain technical information and know how relating to,

   without limitation, the specification, evaluation, simulation, design, implementation, assembly,

  manufacture, procurement of components or subsystems from suppliers or subcontractors,




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   configuration management, quality control, testing, application engineering, customization,

   installation and service of FOG products(`Trade Secrets')." Id. at §13.

           33.      Pursuant to the EMP-1 Agreement, Phoenix granted EMCORE a license "to

   make, . ...use, sell, offer for sale, lease, import and export, subject to US export laws, EMP-1

   FOG and EMP-1 Derivative products, whether stand-alone or incorporated into a larger product

  (e.g., Inertial Measurement Units),...." Id.

           34.     In exchange for the license, EMCORE agreed to pay Phoenix a royalty, including:

                   An initial royalty payment of $100,000 upon completion by
                   EMCORE ofan operating EMP-1 FOG prototype, as reasonably
                   deemed by EMCORE, followed by a second royalty payment of
                   $50,000 upon the commercial sale ...and receipt of payment for
                   of[sic] the first single axis FOG ... and a royalty of 7.5% of the
                   sale price         of all FOGs and EMP-1 derivatives sold by
                   EMCORE up to total royalty payments equal to [$1,000,000].

  Id. at § 3(emphasis added). Upon completion of an operating EMP-1 FOG prototype, EMCORE

   paid Phoenix the initial $100,000. And upon the commercial sale of the EMP-1 FOG,EMCORE

   paid Phoenix the second royalty payment of $50,000.4

           35.     EMCORE also agreed to pay Phoenix royalties on derivatives, modifications, and

   improvements to Phoenix's EMP-1 FOG Technology. Specifically, EMCORE agreed:

                   Any change, improvement, derivative or modification made to or
                   from the EMP-1 FOG Technology by Phoenix is included under
                   this license. Any derivatives or improvements of the EMP-1 FOG
                   Technology developed independently by EMCORE or fully funded
                   by EMCORE and developed by Phoenix shall be the exclusive
                   property of EMCORE. Suclz derivatives or improvements to the
                   EMP-1 FOG Technology do not transfer ownership ofPhoenix
                   provided technology to EMCORE or relieve EMCORE of its
                   requirement and duty to pay royalties on EMP-1 FOGs or



  4 That EMCORE made these payments proves Phoenix's EMP-1 Technology was viable and belies EMCORE's
  allegations in its now-dismissed California complaint that (1) Phoenix could not develop that technology, and (2)
  Phoenix "induced" EMCORE into entering into the License Agreements with representations regarding Phoenix's
  technical expertise, which Phoenix plainly possessed.



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                  derivatives that »:ay co~ituin the modifications or improvements
                  to the EMP-1 FOG Technology solely owned by Phoenix.
                  Subject to the terms of this Agreement, all EMP-1 FOG
                  Technology, ~le~~ivatives and improvements, developed solely by
                  Phoenix, prior to or following the Effective Date, shall be the
                  sole property of'Phoeni.~

   EMP-1 Agreement § 7(emphasis added).

          36.     Notably, Phoenix did not warrant any of the technology provided under the

   license, which EMCORE accepted "AS IS." Id. at fi 12

          37.     With respect to termination, the EMP-1 Agreement requires EMCORE to provide

   120 days' written notice to Phoenix, but:

                  in the case of a material breach of this Agreement by either party,
                  the other party shall have the right to terminate any or all of the
                  rights and licenses granted to that party . . . by giving the other
                  party sixty (60) days['] written notice of its intention to terminate
                  any or all of such rights and license, without limitation of any other
                  right the terminating party may have on account of such breach
                  under this Agreement.

   EMP-1 Agreement § 16. However,"if the breaching party shall remedy such failure within such

   sixty (60) day period     . then such rights and licenses specified in the notice slzul! riot be

   terminated on the date specified in such notice." Id. ENCORE further agreed that, "after any

   termination of this Agreement, ENCORE shall render an accounting for all royalty bearing

   products sold pursuant to this Agreement from the last such report to the termination date." Id.

          38.     Finally, the EMP-1 Agreement contained a royalty buyout provision, allowing

  ENCORE "the right to buy-out Phoenix's right to receive the royalty payments for the EMP-1

  FOG Technology ...." Id. at § 6. The buy-out provision worked as follows:

                 The buy-out price during the period prior to Phoenix receiving One
                 Million Dollars ($1,000,000) of royalty payments will be
                 $1,250,000 less the Initial Royalty Payments and less the 7.5%
                 royalties paid to date by ENCORE. The buy-out price at any time
                 following Phoenix receiving One Million Dollars ($1,000,000) of



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                    royalty payments from EMCORE will be $250,000. Following a
                    buy-out in accordance with this paragraph, EMCORE shall be the
                    sole owner of the EMP-1 FOG and Phoenix irrevocably assigns to
                    EMCORE the right of use, sell, offer for sale, lease EMP-1 FOG
                    Technology and all applicable intellectual property rights related to
                    the EMP-1 FOG Technology, including any improvements or
                    derivatives.

   Id. Because Phoenix has not received $1,000,000 of royalty payments from ENCORE,the buy-

   out price is $1,000,000 less $150,000 in Initial Royalty Payments, less the royalties paid to date.

           39.      By terminating the License Agreements, ENCORE circumvented the buy-out

   provision and usurped Phoenix's technology.

           40.     Phoenix performed each of its obligations under the EMP-1 Agreement, or was

   otherwise excused from doing so.

   ENCORE Agrees to Pay Phoenix Additional Royalties on Phoenix-Developed FOGs acrd
   De~~ivatives i~t the EMP-1k Agreement

           41.     As the parties' relationship grew closer and their interaction more frequent,

   ENCORE customers began to request higher accuracy FOGs than those covered by the EMP-1

   License Agreement, as well as complex inertial measurement units ("IMUs") and other

   navigation systems that contain three FOGs. Indeed, the MOU anticipated this would be the

   case. MOU § 3.2 ("Additional" follow-on opportunities will be addressed under new license

   agreements or expansion of the products covered under existing agreements."). Accordingly, on

   May 25, 2011, the parties entered into the EMP-1 k Agreement to govern these higher accuracy

   FOGs and complex IMUs and navigation systems.s




  5 That ENCORE would enter into yet another license agreement with Phoenix almost three years after entering into
  the first set of agreements demonstrates that EMCORE's claims in its now-dismissed California lawsuit that Phoenix
  fraudulently induced it to enter into the Agreements are spurious and mere pretext for improperly terminating the
  Agreements.



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          42.    In the EMP-1k Agreement, EMCORE again acknowledged, "Phoenix owns

  [FOG] technology embodied in the EMP-1 FOG" Agreement.                EMP-1 k Agreement § 2.

   EMCORE also acknowledged that "Phoenix owns or has in its possession certain technical

   information and know how relating to, without limitation, the specification, evaluation,

   simulation, design, implementation, assembly, manufacture, procurement of components or

   subsystems from suppliers or subcontractors, configuration management, quality control, testing,

   application engineering, customization, installation and service of FOG products (`Trade

   Secrets')." Id. at § 11.

          43.    Pursuant to the EMP-1 k Agreement, Phoenix granted ENCORE a further license

   to "use, sell, offer for sale, lease, import and export, subject to US export laws, EMP-1k FOG

   and EMP-1k Derivative products, whether stand-alone or incorporated into a larger product (e.g.,

   IMUs),...." Id. at § 2.

          44.    In return, ENCORE agreed:

                 [to] pay to Phoenix a royalty of 7.5% of the sale price ... of all
                 EMP-1k FOGs and EMP-1k Derivatives sold by ENCORE. The
                 royalty shall be paid within one month of completion of a calendar
                 quarter (3-month period) and include all paid for sales of that
                 quarter. With each royalty payment, ENCORE will submit to
                 Phoenix a written report that sets forth the calculation of the
                 amount ofthe royalty payment. ...

  Id. at § 3.

          45.    ENCORE once again agreed to pay Phoenix royalties on derivatives,

   modifications, or improvements to Phoenix's EMP-1k Technology:

                 Any change, Improvement, derivative or modification made to or
                 from the EMP-lk FOG by Phoenix is included under this license.
                 Any derivatives or improvements of the EMP-1k FOG Technology
                 developed independently by ENCORE or fully funded by
                 ENCORE and developed by Phoenix shall be the exclusive
                 property of ENCORE. Such derivatives or improvements to the



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                   EMP-Ik FOG Technology do not transfer ownership ofPhoenix
                   provided technology to EMCORE or relieve EMCORE of its
                   requirement and duty to pay royalties on EMP-1k FOGs or
                   derivatives that may contain the modifications or improvements
                   to the EMP-Ik FOG Technology solely owned by Phoe~iix.
                   Subject to the terms of this Agreement, all EMP-1 FOG
                   Technology, derivatives and improvements, developed solely by
                   Phoenix, prior to or following the Effective Date, shall be the
                   sole property ofPhoenix.

   EMP-1 Agreement § 7(emphasis added).~

           46.      Phoenix did not warrant any of the technology provided under the license, which

   EMCORE accepted "AS IS." Id. at ~ 10.

           47.      Like the EMP-1 Agreement, the EMP-1 k Agreement requires EMCORE to

   provide 120 days' written notice to Phoenix to terminate, but:

                   In the case of a material breach of this Agreement by either party,
                   the other party shall have the right to terminate any or all of the
                   rights and licenses granted to that party . . . by giving the other
                   party sixty (60) days[') written notice of its intention to terminate
                   any or all ofsuch rights and license, without limitation of any other
                   right the terminating party may have on account of such breach
                   under this Agreement.

   EMP-1 Agreement § 16. However,"if the breaching party shall remedy such fail~ire within such

   sixty (60) day period         . then such rights and licenses specified in the notice shall not be

   terminated on the date specified in such notice." Id. (emphasis added). EMCORE again agreed

   that, "[a]ftel- any termination of this Agreement, EMCORE shall render an accounting for all

   royalty bearing products sold pursuant to this Agreement from the last such report to the

   termination date." Id.




  6 Each of the Agreements were heavily-negotiated between the parties. Indeed, the parties devoted substantial and
  particular attention to, among other things, the "Follow-on" engineering provisions(§§ 2.4 and 2.5) in the MOU,the
  royalty terms in the EMP-1 and EMP-1k Agreements (§ 3 of the License Agreements), and the "Technology
  Modifications" provisions (§ 7 of the License Agreements), which require EMCORE's continued payment of
  royalties to Phoenix on any derivatives of, or modifications or improvements to, Phoenix's technology.



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          48.     Like the EMP-1 Agreement, the EMP-lk Agreement allowed EMCORE "the

   right to buy-out Phoenix's right to receive the royalty payments for the EMP-lk FOG...." Id. at

     6. The buy-out provision worked as follows:

                 The buy-out price is two and a half Million Dollars ($2,500,000).
                 Following abuy-out in accordance with this paragraph, EMCORE
                 shall be the sole owner ofthe EMP-1k FOG Technology, including
                 any related PHOENIX PATENTS, and Phoenix shall irrevocably
                 assign to EMCORE the right to use, sell, offer for sale, lease and
                 /or license the EMP-1k FOG Technology and all intellectual
                 property rights thereto and any Improvements or derivatives.

   Id.

          49.     Notably, in November 2017, EMCORE Vice President Dave Faulkner

   approached Phoenix about buying-out the royalties under the License Agreements. Although

   Phoenix was not interested in ending the License Agreements, Phoenix nevertheless provided

   EMCORE with three potential options in the context of an informal, unapproved offer. First,

   Phoenix proposed that EMCORE and Phoenix continue their relationship as is. It lead been

   productive and lucrative for both parties for nearly a decade, and Phoenix saw no reason to alter

   the relationship. Second, Phoenix proposed that ENCORE pay the buy-out calculation required

   by the License Agreements. Third, Phoenix proposed that ENCORE purchase Phoenix outright,

   inclusive of the licenses and other equipment.     Several months passed with no substantive

   response to Phoenix's proposal. Instead, EMCORE's response came on May 10, 2018, in the

   way of an improper, ineffective termination of the License Agreements. EMCORE's course of

   dealing underscores the plain fact that its purported termination is mere subterfuge for

  EMCORE's misappropriation of Phoenix's technology without paying the required royalties.

          50.    By terminating the EMP-lk Agreement, ENCORE circumvented the buy-out

  provision and usurped Phoenix's technology.




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          51.     Phoenix performed each of its obligations under the EMP-lk Agreement or was

   otherwise excused from doing so.

   EMCORE Breaches the Agreements by Failing to Puy Phoenix Substantial Royalties or
   Provide NRE Funding, Improperly Terminating the Agreements without Notice, Warning, or
   Opportunity to Cure, and Bringing Suit in California

          52.     On March 16, 2018, a Senior Accountant with EMCORE confirnled that

   EMCORE had "accrued ~$90K as of February 28, 2018" in royalties due to Phoenix. Per the

   relevant sections of the License Agreements, EMCORE was obligated to remit these royalty

   payments to Phoenix "within one month of completion of a calendar quarter" (i.e. April 30,

   2018), along wit11 a "written report that sets forth the calculation of the amount of the royalty

   payment." EMP-1 Agreement § 3; EMP-1k Agreement § 3.

          53.    ENCORE breached the License Agreements by failing to provide the required

   royalty payment and report on or before Apri130, ?018.

          54.    While in breach of the License Agreements, on May 10, 2018, and without notice

   or warning, ENCORE abruptly terminated those agreements, citing entirely pretextual bases that

   ENCORE knew to be false. For example, ENCORE argued, among other things, that "Phoenix

   still has not provided any technology package under the EMP-lk Agreement despite EMCORE's

   repeated requests." ENCORE knew this was false. Indeed, as recently as April 2018, Phoenix

   had responded to EMCORE's requests and provided the requested technology —for the second

   time. ENCORE had lost it the first time Phoenix provided it.

          55.    Curiously, ENCORE also argued that it "has not yet been able to develop viable

  EMP-1k FOG products using technology licensed by Phoenix under the EM P-1 k Agreement."

  This statement is as perplexing as it is incorrect, since a review of EMCORE's previously

   pl-ovided royalty summaries indicates ENCORE paid Phoenix royalties for at least 350 products




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   under the EMP-lk license through 2017. The following table shows the number of EMP-1 and

   EMP-1 k FOG products that EMCORE has sold (as disclosed to Phoenix by EMCORE):

                                            Approximate Number of
                          Product/Model     Units Known to Have Been
                                            Sold b EMCORE
                                  '               1   t     "tl
                          EMP-1                       3~0
                                 '                1   t     "tl
                          EMP-1.2K                    >50
                          EMP-1.3K                     10
                          EMP-4/MTSb                  300
                          EMP-7                        12
                          AVAM                          6
                          PAVAM                        10
                          MiNav 1&2                     6
                          EIMU/300,                     10 (contracted)
                          EN-300

          56.    EMCORE's improper termination of the License Agreements is also a breach of

   those agreements. Indeed, among other things, EMCORE failed to provide Phoenix with the

   requisite sixty (60) days' written notice of its intention to terminate and corresponding "Sixty

   Day Period" in which to cure. See EMP-1 Agreement § 16; EMP-1k Agreement §14.

          57.    Moreover, on the same day as its purported termination, EMCORE initiated

   litigation in California Superior Court alleging Phoenix materially breached the License

   Agreements.    In doing so, however, EMCORE breached the License Agreements, which

   mandate arbitration for all disputes arising under the agreement. See EMP-1 Agreement § 11;

   EMP-lk Agreement § 8.        After ENCORE refused to withdraw or dismiss its lawsuit,

   notwithstanding several requests from Phoenix's counsel to do so over a nearly two-month

   period, Phoenix was forced to incur substantial costs defending the action, including those

   incurred in filing a motion to dismiss, or alternatively, to transfer the case to the Southern




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   District of New York (the "Motion"), the only court with the authority to enforce the parties'

   bargained for agreement to arbitrate their disputes.

          58.        On the due date of EMCORE's response to Phoenix's Motion, EMCORE

   voluntarily dismissed its meritless suit, thus acknowledging the frivolous nature of its claims and

   its lack of any right to bring suit in California. Under the terms of the License Agreements,

   EMCORE's voluntary dismissal renders Phoenix the "prevailing party," entitling it to collect

   from EMCORE "its actual litigation costs, including reasonable attorneys' fees." EMP-1

   Agreement ~ 11; EMP-1 k Agreement ~ 8.

          59.        On the day it voluntarily dismissed its complaint in the California litigation,

   EMCORE also purported to re-notice its termination of the Agreements, this time "for

   convenience." But EMCORE failed to satisfy the requirements in the License Agreements to

   terminate "for convenience." Those requirements include providing 120 days' written notice to

   Phoenix, terminating its sale of any "licensed FOG products," and providing a final written

   royalty report.     See EM P-1 Agreement § 16; EMP-1k Agreement § 14.             The latter two

   requirements must occur within 60 days of the purported termination, which EMCORE traces

   back to May 10, 2018, and thus by July 9, 2018. As EMCORE had failed to (1) provide 120

   days' written notice, (2) stop selling licensed FOG products, and (3) provide a written final

   royalty report, EMCORE's termination "for convenience" is ineffective and itself a breach of the

   parties' Agreements.

          60.        EMCORE committed an additional breach of the License Agreements when, on

  J uly 31, 2018, it failed to pay Phoenix royalties due on second quarter 2018 sales or to provide

  Phoenix with a royalty report for those sales. See EMP-1 Agreement § 3; EMP-1k Agreement §

  3.




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   EMCORE Breaches the Agreements by Failing to Offer Phoenix Engineering Activity Under
   the MOU and Misappropriating Phoenix's Technology, and Admits its Breaches on a
   February 6, 2018 Call with Investors

          61.     On February 6, 2018, EMCORE announced its new HawkeyeTM series of

   precision, single-axis FOG modules. EMCORE's press release describes the "EMCORE-

   HawkeyeTM EG-120 FOG module [as a] ultra-compact, state-of-the-art design that is the

   smallest, most affordable closed-loop FOG available on the market today." That same day,

   during a call with investors, EMCORE's CEO Jeff Rittichier announced that EMCORE was "on

   tl-ack to ship production quantities of[HawkeyeTM FOGs] to a tier 1 defense prime this quarter."

   Mr. Rittichier also reminded investors that "given the long design, qualification and product

   lifetimes in this business, it is useful to think of each program as a layer over a technical

   foundation."

          62.     Phoenix has acted as EMCORE's primary supplier of FOGs for the past decade,

   during which EMCORE lacked the in-house capability to build ahighly-precise FOG. Indeed,

   Phoenix built the "technical foundation" that Mr. Rittichier references above.         Because

   EMCORE lacked the ability to develop a FOG in-house and without reliance on Phoenix

   technology, ENCORE could not have developed the HawkeyeTM technology without modifying

   or improving upon Phoenix's technology, or otherwise deriving from it. Although Phoenix has

   not been provided details of the HawkeyeTM technology, from EMCORE's website it tracks a

   presentation developed by Phoenix and briefed to a major defense contractor, and also appears to

   be based on EMP-1 electronics modified to use a Field Programmable Gate Array. Phoenix not

   only developed the EMP-1 technology, but also developed the Field Programmable Gate Array

   at its own cost and incorporated it into the PAVAN, MiNav and EN-300 products that ENCORE




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   also continues to sell. Nevertheless, EMCORE has not paid Phoenix a single royalty on

   HawkeyeTM FOGS.

          63.     On the February 6 investor call, Mr. Rittichier also stated plainly that EMCORE

   doesn't "develop a new navigation product unless we've got a lead customer and a purchase

   order." Mr. Rittichier thus admitted that EMCORE had received a customer request for a custom

   FOG product. EMCORE had an obligation to provide Phoenix with "not less than 25% of the

   engineering activity" for that product, but EMCORE failed to involve Phoenix in the

   development of the HawkeyeTM FOGs, to pay Phoenix the required NREs, or even to inform

   Phoenix of the opportunity.

          64.     Also on the February 6, 2018 call, Mr. Rittichier referenced EMCORE's "signed

   one-year sole source agreement for the MTSB program."' The MTSB incorporates Phoenix

   technology, and ENCORE has paid Phoenix a royalty on sales of approximately 300 MTSB

   units in the past. Mr. Rittichier added that "[w]e have excellent visibility for the rest of the year

   on that product, while we work through the details of the four year contract," and confirmed that

  "there have been no items of contention in the discussion that stand in the way of finishing the

   agreement." Mr. Rittichier thus confirmed EMCORE's intention to continue to sell Phoenix-

   developed products, for at least 4 more years without paying any royalties to Phoenix.

          65.     Mr. Rittichier also announced that ENCORE has "been negotiating a contract

   award to deliver the first prototypes of an advanced airborne IMU platform, ►t~lziclr i~~e ►gill

   delii~er iir the current fiscal year. This should ultimately become the multiyear eight figure

  proa~•umIspoke of'lust quarter." (emphasis added). As noted above, ENCORE lacks the in-

  house capability to develop ahighly-precise FOG on its own and, for a decade, has relied oil

  Phoenix's expertise and on Phoenix's licensed technology.              That ENCORE is moving




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   aggressively into the navigation space and signing a "multi-year eight figure" deal at the same

   time it purported to terminate the Agreements confirms that EMCORE terminated the

   Agreements and ousted Phoenix to avoid paying royalties and to keep more of its profits for

   itself, all while continuing to use Phoenix's technology.                  Indeed, Mr. Rittichier informed

   investors that they "should expect several additional announcements for advanced navigation

   products" over the next few months.

   EMCORE Admits Further Breaches on a May 3, 2018 Call with Investo~~s a»d iii a May 3,
   2018 Press Release

           66.      On a May 3, 2018 earnings call, Mr. Rittichier again confirmed that EMCORE's

  "business development funnel has never been stronger." For example, Mr. Rittichier admitted

   that EMCORE "delivered [its] first EN-300 Inertial Measurement units to a major customer who

   will begin flight testing very soon. This customer described the first test results as a game

   changer." But Phoenix developed the EN-300 unit and is entitled to a royalty on EMCORE's

   sales of that unit. Mr. Ritticher thus admitted, as recently as May 3, just seven days before

   EMCORE improperly terminated the Agreements, that EMCORE was continuing to sell FOG

   products and derivatives on which Phoenix is entitled to a royalty.'

           67.      In a press release on May 3, 2018, EMCORE also announced that it:

                   has entered into an agreement with a major U.S. prime contractor
                   in the defense industry to design an innovative Inertial
                   Measurement Unit (IMU) for airborne line-of-sight stabilization
                   and navigation applications. As part of this contract EMCORE has
                   agreed to deliver flight demonstration hardware by the end of this
                   year to support flight testing early next year. This agreement is
                   expected to be a precursor to a production contract estimated at
                   several hundred units per year starting in 2020 and beyond.




   Mr. Rittichier's statement is also an admission that Phoenix's technology was viable, indeed it was a "game
  changer."



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   David Faulkner, EMCORE's Vice President and General Manager of Aerospace &Defense,

   stated at the time of the antlouncement that: "EMCORE demonstrated the versatility to

   configure its IMU technology to be distributed within the customer's tight volume and space

   constraints, which was integral to being selected for this program[.]" Mr. Rittichier also added

   that: "This agreement with one of our most important customers is another key design win for

   our Navigation business[.]"

          68.    Only about three companies make the targeting products referenced in

   EMCORE's May 3 announcement. Phoenix originated marketing materials and directly

   supported EMCORE in meetings at two of these companies. Sales to any of these companies

   would be derivative ofPhoenix-licensed technology.

          69.    EMCORE expects a "production contract estimated at several hundred units per

   year starting in 2020 and beyond" for this contract. These units typically sell for between

   $23,000 to $35,000 apiece. Assuming 300 per year at $30,000 results in $9,000,000 in total

   sales, which would result in a $675,000 royalty due to Phoenix. But EMCORE improperly

   terminated the Agreements just seven days after making this announcement, further confii-~ning

   that the terminations were pretextual and meant only to cut Phoenix out of the picture so

   EMCORE could keep money due to Phoenix for itself.

   EMCORE'.s B~•euches are O~zgoiiig

          70.    ENCORE continues to market and sell royalty-bearing, Phoenix-developed FOGs

   and IMUs on its website.

         71.     Attached as Exhibit D is a brochure for Advanced Fiber Optics Solutions for

   Government, Aerospace & Defense that appeared on EMCORE's website on the date of




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   Phoenix's original Demand (June 12, 2018) (over one month after EMCORE purported to

   terminate the Agreements). The brochure touts, among other things:

                 a.     EMCORE's FOG offerings, including the EMP-1, EMP-3,
                        EMP-4, EMP-7, EMP-1.2K and EMP-1.3K -each of
                        which Phoenix developed; and

                 b.     EMCORE's IMU offerings, including the MINAV-1,
                        MINAV-2, AVAM,PAVAM,and EN-300 -each of which
                        Phoenix developed.

          72.    Attached as Exhibit E is a screenshot of EMCORE's webpage for "Fiber Optic

   Gyros, Sensors &Navigation Systems," dated June 12, 2018.            The webpage states that

  "EMCORE'S IMUs and navigation systems deliver high-precision with up to five-times better

   performance than competing units on compact, portable form-factors that provides standalone

   aircraft grade navigator performance at 1/3 the size of competing systems." The webpage further

   lists the following currentl~~ a~~ailable models of ENCORE products as of the date of Phoenix's

   original Demand (June 12, 2018), each of which Phoenix developed: EN-300; AVAM; and

   PAVAN.

          73.    Attached as Exhibit F is a screenshot of EMCORE's webpage for "Fiber Optic

   Gyros, Sensors &Navigation Systems," dated June 12, 2018.            The webpage states that

   ENCORE'S "FOGs are setting the new benchmark for more accurate and economical fiber optic

   gyro components and systems in a wide variety of guidance, navigation and aeronautics

   applications including platform stabilization of camera systems on aircrafts and UAVAs, north

  finding/tracking, and man-portable and tripod target locator systems." The webpage further lists

   the following currently available models of ENCORE products, each of which Phoenix

   developed: EMP-1; EMP-3; EMP-4; EMP-7; EMP-1.2K; and EMP-1.3K.




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            74.      Attached as Exhibit G is EMCORE's "Commercial Pricing for Fiber Optic Gyro

   Components," dated May 2018 and available on EMCORE's website as of the date of Phoenix's

   original Demand.         The document proves that EMCORE was currently offering for sale

   Phoenix-developed technologies, including the following 14 products: EMP-1 FOG; EMP-1 HP

   FOG; EMP-3 FOG; EMP-4 FOG; EMP-7 FOG; EMP-1.2 (Int.) FOG; EMP-1.2 (U.S.) FOG;

   EMP-1.3 (Int.) FOG; EMP-1.3 (U.S.) FOG; EN-300 IMU; EN-300E IMU; and EN-1000

   MINAV.

            75.      Although ENCORE is offering the above products for sale, it has not paid any

   royalties on them to Phoenix since ?017, and, by improperly terminating the License

   Agreements, signaled its intent not to pay royalties in the future.R

           76.       In apparent response to this arbitration, ENCORE rebranded the "EMP" FOGs as

  "EG" FOGs on its website.y But EMCORE's own marketing materials slow that the EMP and

   EG FOGs are one and the same. The specifications have not changed, nor the pricing—only the

   name.

           77.      For example, as part of its rebranding efforts, ENCORE updated the marketing

   datasheets and price list on its website. Even a cursory comparison of the EMP-1 FOG datasheet




   ~ As a result ofthe financial pressure that EMCORE's improper termination has placed on Phoenix, which received
   nearly 100% of its revenues from ENCORE,Phoenix filed for an injunction in aid of arbitration pursuant to CPLR
  7502(c) shortly after initiating this arbitration. On August 6, 2018, Justice Saliann Scarpulla of the Commercial
  Division of the New York Supreme Court ordered ENCORE to make periodic payments of royalties on FOG
  products that ENCORE admitted it continues to sell, and on which it historically paid Phoenix a royalty, into an
  escrow account from which Phoenix can draw on a monthly basis to pay its expenses pending this arbitration.
  Justice Scarpulla further ordered ENCORE to provide Phoenix with a royalty report showing EMCORE's 2018
  FOG sales. That report shows a precipitous uptick in EMCORE's FOG sales in 2018. For example, as noted above,
  ENCORE paid Phoenix approximately $700,000 in royalties during the parties' 10-year relationship. EMCORE's
  own reporting indicates that its sales of FOG products in just thefirst eig/st months of2018 results in royalties of at
  /east $300,000 due to Phoenix from sales of FOG products on which ENCORE had paid Phoenix royalties before
  purporting to terminate the License Agreements.


  y "EMP"stands for ENCORE and Phoenix.



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   that appeared on EMCORE's website as of the time Phoenix filed its original complaint with its

   new July 2018 "EMCORE-Hawkeye EG-200 Lithium Niobate" FOG datasheet demonstrates

   that tl:e~~ u~-e t11e same FOG. Co~~ipare Exhibit H (former datasheet) with Exhibit I (new July

   2018 datasheet). Not only are the specifications exactly the same, but EMCORE even neglected

   to change one reference to the "EMP-1" in the EG-200 datasheet. See Ex. I (touting that "[i]n

   addition, the EMP-1 can be calibrated internally for better thernlal effect . . . .") (emphasis

   added).

              78.   EMCORE also "updated" its June 2018 price list, which further proves that it

   continues to sell Phoenix-developed technology under the new "EG" prefix. Indeed, the "new"

   EG FOG prices are identical to the prior EMP prices, down to the dollar:


         Phoenix-developed EMP FOGS                            EMCORE's Ha~vkeye EG Series
         EMCORE's Mav 2018 Price List                          EMCORE's June 2018 Price List

                          1 Unit
        Model                        10 Unit Pi•ice          Model      1 Unit Price   10 Unit Price
                          Price
   E1~-IP-1            S 17.>9~~    X15,303                EG-200      517. 99         $15,303

   EMP-3               $18,491      $16,079                EG-400      $18,491         $16,079

   EMP-1.2 (Int.)      $38,540      $33,513                EG-1200     $38,540         $33,513

   ENTP-1.3 (Int.)     $39,433      $34,?89                EG1300      X39,433         $34,289



  ENCORE Putei~ted Phoe~zix's Pi~opi~ietary Technology u~rd Disclosed it For the World to See

          79.       As part of its rebranding efforts, ENCORE began emblazoning the outer casings

   of its "Hawkeye EG-200" FOG,"Hawkeye EG-120" FOG, and "EN-300" IMU with US Patent

   No. 8,773,665 (the "`665 Patent"). Attached as Exhibits J and K, respectively, are a screenshot




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   and datasheet for EMCORE products that claim the `665 Patent protects the marketed

   technology. See also Ex. I (listing the `665 Patent as coveting the EG-200).

              80.             The `665 Patent, attached as Exhibit L, takes directly from Phoenix's proprietary

   and novel compact FOG design, which Phoenix provided to EMCORE under the MOU and

   EMP-1 License Agreement, and which Phoenix attached to the EMP-1 License Agreement. The

   figure on the left below comes from the confidential "EMP-1 (Proto FOG)Design Review" slide

   deck that Phoenix prepared for EMCORE and which the parties attached to and incorporated

   within the EMP-1 License Agreement. See B. The figure on the right comes fi-oin EMCORE's

   `665 Patent:


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                                                                                                                                   FIG.{

           Figure from Phoenix's tlugus~t ? ? i S                                                          F~~une from ~'~~COPtiE's `~6~ Paient
       "E~~-1 (PYato FOG)Desieu Re~~ieti~"slide desk                                                     (:filed t~pril 1. ~'~~ 11, ~rant~d Ju~~~ ~~1~,'~


              81.            The two figures are remarkably, almost exactly the wine.                                                                                  That EMCORE

   maintains that the `665 Patent covers its "EG" FOGs and EN-300 IMU proves that EMCORE

   continues to market and sell EMP-1 FOG Technology and further confirms that EMCORE has

   misappropriated Phoenix's technology and disclosed it for the Patent Trademark Office, and

  indeed the world, to see in a patent application.



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          82.     Pursuant to Section 7 of the License Agreements,"derivatives or improvements to

   the EMP-1 FOG Technology do        i~Ot tYll/ISfe/' OW11eYSjllp   of Phoenix provided technology to

   ENCORE nr relieve ENCORE ofits requireme~zt and duty to pay royalties on EMP-1 FOGs.

   . .."(emphasis added). See also EMP-1 Agreement § 1 (defining "Improvements" to mean "all

   improvements, modifications, or changes, revisions, and updates, including alternative forms,

   derivative products and enhancements, made by Phoenix or ENCORE to an EMP-1 FOG and its

   derivatives.") (emphasis added). By patenting Phoenix's NOVEL technology without naming

   the Phoenix employees Glenn Gage and Robert Hansen, who developed the claimed technology,

   as inventors, ENCORE improperly asserted and misrepresented its ownership of the patented

   technology, and thus committed a further breach of the License Agreements.

          83.     The `665 Patent claims a "small, highly integrated form factor," which is an

   aspect of FOG design that defines and prescribes the size, shape, and other physical

   specifications and configurations of components. In other words, the novel and non-obvious

   invention claimed by the `665 Patent is not the individual components, which all existed in the

   prior art, but instead the arrangement of the components, which allow for a highly accurate, low-

   noise single-axis FOG in a single integrated house. See Ex. L. Indeed, during prosecution of the

   `665 Patent, in response to a rejection of the then-pending claims, ENCORE amended its claims

   and argued that prior ai-t cited by the Examiner failed to teach or suggest all of the elements of

   the newly amended claims. In particular, ENCORE argued that this cited prior art failed to

   disclose or teach "the invention's small, highly integrated form factor." See April 24, 2014

   Office Action Response at 8-9. This is precisely what Phoenix provided. See Ex. B at Appendix

   A.




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          84.        Nevertheless, EMCORE filed the `665 Patent application on April 1, 2011 as U.S.

   Patent Application No. 13/078,428, identifying EMCORE employees Ron Logan and Dr. Ka

   Kha Wong as the inventors. Phoenix employees, Glenn Gage and Robert Hansen, who had

   conceived of the invention, reduced it to practice, and confidentially disclosed it to EMCORE

   long before EMCORE filed its application, are referenced nowhere in the application.

          85.        Mr. Gage, whose expertise is in the mechanical design of FOGS, began

   developing the concept for a compact, single-axis FOG at least as early as March 2008 in

   collaboration with Mr. Hansen, who advised on the design and placement of electronic circuitry

   and software code within the FOG.            Tliis development activity occurred prior to any

   collaboration with EMCORE and was fully funded by Phoenix. Indeed, by June 15, 2008, Mr.

   Gage and Mr. Hansen had fully developed the FOG configuration.

          86.     Later, after the parties had executed their NDA, Phoenix confidentially shared its

   proprietary design with EMCORE in the "EMP-1 (Proto FOG)Design Review" slide deck. The

   parties incorporated this slide deck into the EMP-1 License Agreement to define the technology

   that was the subject of the Agreement. See EMP-1 Agreement § 1 ("`FOG' or `FOGs' shall

   mean an EMP-1 single axis fiber optic gyro and its derivatives as described in the EMP-1 design

   review of August 22, 2008 (`EMP-1 Design Review'), a copy of which is attached hereto as

   Exhibit A").       Unbeknownst to Phoenix, years later, EMCORE patented the very design

   disclosed in the presentation, erroneously claiming its employees invented the proprietary

   configurations.

          87.     The `665 Patent's claims are directed to the design of a "compact fiber optic

  gyroscope"—a design that was fully and solely conceived by Phoenix employees.

                                              COUNT I
                                  (Breach of the EMP-1 Agreement)



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          88.     Phoenix repeats and re-alleges paragraphs 1 through 87 as if fully set forth herein.

          89.     The EMP-1 Agreement is a valid and binding written agreement between Phoenix

   and EMCORE.

          90.     The EMP-1 Agreement was made for valid consideration.

          91.     Phoenix performed its contractual duties under the EMP-1 Agreement, or was

   otherwise excused from performance.

          92.     As a result of the conduct described above, EMCORE breached the EMP-1

   Agreement by, inter alias (1)failing to pay Phoenix at least $90,000 in royalties accrued through

   the first quarter of 2018 or delivering the requisite royalty report on or by April 30, 2018, and

   again failing to pay royalties or providing the requisite royalty report for second quarter 2018 on

   or by July 31, 2018;(2)terminating the EMP-1 Agreement for material breach without providing

   Phoenix with the requisite sixty (60) days' notice and period in which to cure, and later

   purporting to terminate the agreement "for convenience" without following the requirements in

   the License Agreements; (3) initiating a lawsuit in California state court, notwithstanding the

   mandatory arbitration provisions of the EMP-1 Agreement;(4) misappropriating Phoenix's trade

   secrets, including, but not limited to, by continuing to sell Phoenix's technology without paying

   royalties and patenting Phoenix's proprietary and novel technology; and (5) selling andlor

   currently offering for sale licensed, royalty-bearing, Phoenix-developed EMP-1 FOG products,

   and other products derivative thereof, or which contain modifications or improvements thereto,

  (i) without paying Phoenix the required royalties, and (ii) after purporting to terminate the EMP-

   1 Agreement.

          93.     As a result of EMCORE's breach of the EMP-1 Agreement, Phoenix has suffered

   damages in an amount to be proven in this Arbitration.




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                                            COUNT II
                                (Breach of the EMP-1k Agreement)

          94.     Phoenix repeats and re-alleges paragraphs 1 through 93 as if fully set forth herein.

          95.     The EMP-1 k Agreement is a valid and binding written agreement between

   Phoenix and EMCORE.

          96.     The EM P-1 k Agreement was made for valid consideration.

          97.     Phoenix performed its contractual duties under the EMP-1k Agreement, or was

   otherwise excused from performance.

          98.     As a result of the conduct described above, EMCORE breached the EMP-1k

   Agreement by, inter alias (1)failing to pay Phoenix at least $90,000 in royalties accrued through

   the first quarter of 2018, or delivering the requisite royalty report on or by April 30, 2018, and

   again failing to pay royalties or providing the requisite royalty report for second quarter 2018 on

   or by July 31, 2018; (2) terminating the EMP-1k Agreement for matet-ial breach without

   providing Phoenix with the requisite sixty (60) days' notice and period in which to cure, and

   later purporting to terminate the agreement "for convenience" without following the

   requirements in the License Agreements; (3) initiating a lawsuit in California state court,

   notwithstanding the mandatory arbitration provisions of the EMP-lk Agreement; (4)

   misappropriating Phoenix's trade secrets, including, but not limited to, by continuing to sell

   Phoenix's technology without paying royalties and patenting Phoenix's proprietary and novel

   technology; and (5) selling and/or currently offering for sale licensed, royalty-bearing, Phoenix-

   developed EMP-1k FOG products, and other products derivative thereof, or which contain

   modifications or improvements thereto,(i) without paying Phoenix the required royalties, and (ii)

  after purporting to terminate the EMP-lk Agreement.




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          99.     As a result of EMCORE's breach of the EMP-1 k Agreement, Phoenix has

   suffered damages in an amount to be proven in this Arbitration.

                                             ('~li TNT I11

                          (Breach of the Memorandum of Understanding)

           100.   Phoenix repeats and re-alleges paragraphs 1 through 99 as if fully set forth herein.

           101.   The MOU is a valid and binding written agreement between Phoenix and

   EMCORE.

           102.   The MOU was made for valid consideration.

           103.   Phoenix performed its contractual duties under the MOU, or was otherwise

   excused from performance.

           104.   As a result of the conduct described above, EMCORE breached the MOU by,

   inter alia,(1)failing to provide Phoenix with "not less than 25% of the engineering activity' per

   Sections 2.4 and 2.5, including, but not limited to, on the HawkeyeTM products; (2) failing to

   support Phoenix in accordance with the MOU by, for example, failing to provide standard

   laboratory equipment necessary to develop, debug, and evaluate FOGs; (3) failing to provide

   Phoenix with functional components in accordance with its responsibilities under the MOU,

   including, but not limited to integrated optical circuits; and (4) misappropriating Phoenix's trade

   secrets, including, but not limited to, by exposing them to the PTO and the public through a

   patent filing, and failing to abide by the terms of the parties' NDA.

          105.    As a result of EMCORE's breach of the MOU, Phoenix has suffered damages in

   an amount to be proven in this Arbitration.

                                          COUNT IV
                    (Breach of the Co~~enant of Good Faith and Fair Dealing)




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             106.   Phoenix repeats and re-alleges paragraphs 1 through 105 as if frilly set forth

   herein.

             107.   The EMP-1 and EMP-1 k License Agreements and MOU each contain an implied

   covenant of good faith and fair dealing that was breached by EMCORE through its bad faith

   conduct. Through the Agreements, EMCORE gained access to ahighly-skilled group of the

   foremost FOG experts in the industry, without needing to incur the administrative overhead

   associated with bringing those experts in-house. In exchange for an agreed-upon royalty,

   EMCORE could market and sell technology developed by that same highly-skilled group of

   experts.     Now, after inducing Phoenix to enter into these Agreements with promises of

   engineering work, assistance, and equipment it never provided, and after enjoying the benefits of

   these Agreements for a decade, ENCORE has launched a bad faith campaign to oust Phoenix,

   steal its technology, besmirch its founders' well-earned positive reputations, and sell Phoenix-

   developed technology without paying the royalties it agreed to pay. Moreover, ENCORE has

   attempted to cover up its wrongful conduct and further evade its contractual duties by

   rebranding, in name only, the Phoenix-derived EMP FOGs as "EG."               As shown by the

   EMCORE's datasheets, pricing, and by its attribution of the `665 Patent to the product, however,

   the EG Hawkeye FOGs and EMP FOGs are the same products; EMCORE's actions only serve to

   underscore its bad faith and unfair dealings.

             108.   EMCORE's conduct deprives Phoenix of the rights and benefits Phoenix is

   entitled to receive under the Agreements, including, but not limited to, engineering activity and

   royalties. EMCORE's strategy to force Phoenix out while retaining —and indeed asserting

   ownership claims over —Phoenix's technology is a breach of the implied covenant of good faith

  and fair dealing.




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             109.    EMCORE's actions, as alleged above, constituted independent and separate

   breaches of the MOU,the EMP-1 Agreement, and the EMP-1 k Agreement.

             1 10.   As a result of EMCORE's breaches of the implied covenant of good faith and fair

   dealing, Phoenix has suffered damages in an amount to be proven in this Arbitration.

                                         COUNT V
          (Misappropriation of Trade Secrets Under the Defend Trade Secrets Act (`~DTSA")
                                  18 U.S.C.§§ 1836, et seq.)

             1 11.   Phoenix repeats and re-alleges paragraphs 1 through 110 as if fully set forth

   herein.

             112.    Phoenix owns or has in its possession certain technical information and know how

   relating to, without limitation, the specification, evaluation, simulation, design, implementation,

   assembly, manufacture, procurement of components or subsystems from suppliers or

   subcontractors, configuration management, quality control, testing, application engineering,

   customization, installation and service of FOG and IMU and navigational products. Phoenix

   shared this information with EMCORE pursuant to the parties' Agreements, which require

   EMCORE to maintain its secrecy. Phoenix has taken all reasonable precautions to maintain its

   trade secrets in confidence and to prevent their disclosure to or use by unauthorized persons.

             1 13.   For nearly a decade, EMCORE lacked the ability to develop highly-precise FOGs

   and IMUs in-house, and therefore engaged Phoenix as its supplier of that technology. On May

   10, 2018, and later on July 16, 2018, ENCORE purported to terminate the parties' Agreements,

   which granted ENCORE a license to make, use, sell, offer for sale, lease, import and export

   EMP-1 and EMP-1 k FOG and EMP-1 and EMP-1 k Derivative products. ENCORE nevertheless

   has confirmed in public statements that it is moving aggressively into the navigation space, and

   that it is also continuing to sell Phoenix-developed FOGs, IMUs, and other products derived,




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   modified, or improved therefrom. Those products include, but are not limited to, the HawkeyeTM

   FOG, MTSB, and EN-300. EMCORE likewise continues to offer for sale numerous Phoenix-

   developed, royalty-bearing products and other products derived, modified, or improved

   therefrom on its website, including, but not limited to, the: EMP-1 FOG; EMP-1 HP FOG;

   EMP-3 FOG; EMP-4 FOG; EMP-7 FOG; EMP-1.2 (Int.) FOG; EMP-1.2 (U.S.) FOG; EMP-1.3

  (Int.) FOG; EMP-1.3 (U.S.) FOG; EG-200; EG-120 FOG; EN-300 IMU; EN-300E IMU; and

   EN-1000 MINAV. Indeed, EMCORE now marks its FOG products with the `665 Patent

   number. As described above, that invention was fully conceived and reduced to practice by

   individuals from Phoenix and only shared with EMCORE under the protections of the parties'

   agreements. That EMCORE maintains that the `665 Patent covers its "new" EG FOGs proves

   that ENCORE continues to market and sell Phoenix technology, and indeed further confirms that

   ENCORE has misappropriated Phoenix's technology by disclosing it for the PTO and the world

   to see in a patent application.

           1 14.   The conduct described in the foregoing paragraphs constitutes "actual" trade

   secret misappropt-iation by ENCORE under the DTSA.

           1 15.   The conduct also amounts to "threatened" trade secret misappropriation under the

   DTSA because ENCORE has signaled its intent to continue to sell these products for, at least,

   the next four years. Furthermore, to develop and commercialize these products, ENCORE will

   necessarily need to share Phoenix's licensed technology with other developers because

   ENCORE lacks the in-house development capabilities to do so on its own. This is a violation of

   the parties' Agreements and also constitutes "threatened" trade secret misappropriation.




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             1 16.   Phoenix   has   been   and    is    being   irreparably    harnled   by   EMCORE's

   misappropriation of its trade secrets. Without injunctive relief, Phoenix will continue to be

   irreparably harmed by EMCORE's misappropriation of its trade secrets.

             1 17.   Phoenix is entitled to the injunctive relief set forth in its Prayer for Relief to

   prevent EMCORE's continued actual and/or threatened misappropriation of its trade secrets.

             1 18.   EMCORE's misappropriation of Phoenix's trade secrets was willful and

   malicious.

             1 19.   Phoenix is entitled to money damages and the attorneys' fees that it incurs in this

   action. EMCORE is also entitled to exemplary damages pursuant to 18 U.S.C. § 1836.

                                            COUNT VI
                          (Common La~~v Misappropriation of Trade Secrets)

             120.    Phoenix repeats and re-alleges paragraphs 1 through 119 as if fully set forth

   herein.

             121.    Phoenix owns or has in its possession certain technical information and know how

   relating to, without limitation, the specification, evaluation, simulation, design, implementation,

   assembly, manufacture, procurement of components or subsystems from suppliers or

   subcontractors, configuration management, quality control, testing, application engineering,

   customization, installation and service of FOG and IMU and navigational products. Phoenix

   shared this information with ENCORE pursuant to the parties' Agreements, which require

   ENCORE to maintain its secrecy.

             122.    Phoenix has taken all reasonable precautions to maintain its trade secrets in

  confidence and to prevent their disclosure to or use by unauthorized persons.

             123.    ENCORE presently is using and intends to use Phoenix's trade secrets in breach

  ofthe parties' Agreements, and in further breach of its duties owed to Phoenix.



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             124.   As a result of EMCORE's misappropriation of Phoenix's trade secrets, Phoenix

   has suffered damages in an amount to be proven in this Arbitration.

                                                COUNT VII
                                               (Conversion)

             125.   Phoenix repeats and re-alleges paragraphs 1 through 124 as if fully set forth

   herein.

             126.   EMCORE's actions and omissions, as alleged above, were intended to and, in

   fact, did interfere with and appropriate to itself, without justification, rights, benefits, and interest

   in Phoenix's property, to the exclusion of Phoenix.

             127.   EMCORE's actions were committed with wanton dishonesty and constitute

   conversion of Phoenix's interests.

             128.   As a result of EMCORE's breach of the Agreements, Phoenix has suffered

   damages in an amount to be proven in this Arbitration.

                                             COUNT VIII
                                          (Unjust Enrichment)

             129.   Phoenix repeats and re-alleges paragraphs 1 through 128 as if fully set forth

   herein.

             130.   EMCORE's acts resulted in its unjustified, unlawful receipt of money or property.

             131.   By reason of EMCORE's unlawful actions, it was unjustly enriched in an amount

   to be proven in this Arbitration.

             132.   Phoenix is entitled to recover the amounts by which EMCORE was unlawfully

  and unjustly enriched by virtue of its wrongful conduct.

                                          COUNT IX
        (Correction of Inventorship of U.S. Patent No. 8,773,665 under 35 U.S.C.§ 256)




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             133.   Phoenix repeats and re-alleges paragraphs 1 through 132 as if fully set forth

   herein.

             134.   The `665 Patent was filed on April 1, 2011 as U.S. Patent Application No.

   1 3/078,428. On June 8, 2014, the PTO issued the `665 Patent, entitled "Compact Fiber Optic

   Gyroscopes," to erroneously named inventors Mr. Logan and Mr. Wong. Mr. Logan and Mr.

   Wong then assigned their purported rights in the patent to EMCORE. During prosecution of the

   `665 Patent, in response to a rejection of the then-pending claims, EMCORE amended its claims

   and argued that prior- art cited by the Examiner failed to teach or suggest all of the elements of

   the newly amended claims. In particular, EMCORE argued that this cited prior art failed to

   disclose or teach "the invention's small, highly integrated form factor."

             135.   Phoenix employees, Glen Gage and Robert Hansen, fully conceived and reduced

   to practice the invention claimed in the `665 Patent and are thus the true and sole inventors of

   such. EMCORE omitted each ofthem from the `665 Patent without their knowledge and without

   deceptive intent on the part of Messrs. Gage and Hansen. Both individuals contributed in a

   significant manner to the conception of the invention claimed in the `665 Patent.

             136.   Pursuant to 35 U.S.C. § 256, the error of omitting Mr. Gage and Mr. Hansen as

   inventors of the `665 Patent and erroneously naming Mr. Logan and Mr. Wong as such may be

   corrected. Phoenix requests that the Arbitrator award this relief and any other relief, in equity or

   otherwise, the Arbitrator deems appropriate.

                                          COUNT X
                      (Declaratory Judgment —Ownership of the `665 Patent)

             137.   Phoenix repeats and re-alleges paragraphs 1 through 136 as if filly set forth

  herein.




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             138.   Mr. Gage and Mr. Hansen, both Phoenix employees, are the true and only

   inventors of the `665 Patent. Mr. Gage and Mr. Hansen have assigned their ownership rights in

   the invention to Phoenix.

             139.   Phoenix fully funded the development work underlying the `665 Patent, which

   occun-ed prior to Phoenix's collaboration with EMCORE. Pursuant to the License Agreements,

   all technology "developed solely by Phoenix .. . shall be the sole property of Phoenix." See

   License Agreements § 7. The Agreements further provide that "derivatives or improvements to

   the EMP-1 FOG Technology do riot transfer ownership of Phoenix provided technology to

   EMCORE." Icl. Accordingly, EMCORE has no ownership rights to the `665 Patent and no

   rights to the `665 Patent via assignment from Mr. Wong and Mr. Logan, because, as discussed

   above they did not contribute to the conception of the invention iii the `665 Patent and had no

   ownership rights to assign to EMCORE.

             140.   Accordingly, Phoenix requests that the Arbitrator declare that Phoenix is the sole

   owner of the `665 Patent.

                                            COUNT X
                         (Declarator~~ Judgment —Contractual Obligations)

             141.   Phoenix repeats and re-alleges paragraphs 1 through 140 as if fully set forth

   herein.

             142.   An actual, justiciable controversy exists between the parties that is not amenable

   to resolution by resort to conventional remedies, and as to which Phoenix has no adequate

   remedy at law.

             143.   As described above, EMCORE has breached, and intends further breaches of the

  License Agreements and the MOU.




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          144.    Accordingly, in order to protect its rights, Phoenix seeks a declaration from this

   Tribunal as set forth below.

          145.    This declaratory judgment would have an immediate and practical effect on the

   parties' conduct by clarifying the parties' contractual obligations so that the parties may act in

   accordance therewith.




                                        PRAYER FOR RELIEF

      WHEREFORE,Phoenix respectfully requests that the Arbitrator award relief as follows:

          A.     Pursuant to Count One, find EMCORE in breach of the EMP-1 Agreement and

                 award damages in an amount to be proven in this Arbitration, and/or other

                 appropriate relief;

          B.     Pursuant to Count Two, find EMCORE in breach of the EMP-1k Agreement and

                 award damages in an amount to be proven in this Arbitration, and/or other

                 appropriate relief;

          C.     Pursuant to Count Three, find EMCORE in breach of the MOU, and award

                 damages in an amount to be proven in this Arbitration, and/or other appropriate

                 relief, including, but not limited to, voiding the non-competition pt-ovisions of the

                 MOU (Section 11);

          D.     Pursuant to Count Four, find EMCORE in breach of the covenant of good faith

                 and fair dealing and award damages in an amount to be proven in this Arbitration,

                 and/or other appropriate relief;




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         E.   Pursuant to Counts Five and Six, find EMCORE has willfully and maliciously

              misappropriated Phoenix's technology and award damages pursuant to the DTSA

              and common law, including, but not limited to injunctive relief, money damages

              in an amount to be proven ili this Arbitration, exemplary damages, and/or other

              appropriate relief;

        F.    Pursuant to Counts Seven and Eight, find EMCORE has converted Phoenix's

              technology and that EMCORE has been unjustly enriched, and award damages in

              an amount to be proven in this Arbitration, and/or other appropriate relief;

        G.    Pursuant to Count Nine, correct the inventorship of the `665 Patent by naming

              Glen Gage and Robert Hansen inventors and removing Ka Kha Wong and Ron

              Logan as such, and award any other relief that the Arbitrator finds equity

              warrants;

        H.    Pursuant to Count Ten, declare that Phoenix is the sole owner of the `665 Patent

              and that EMCORE has no rights in or to the patent;

        I.    Pursuant to Count Eleven, declare as follows:

              a.     EMCORE is in breach of the License Agreements by failing to pay

                     required royalties to Phoenix and to issue the required accountings, by

                     failing to follow the mandatory termination procedures therein and

                     provide Phoenix with the requisite sixty (60) days' notice of termination

                     for material breach and opportunity to cure, by failing to follow the for

                     convenience termination procedures therein and provide Phoenix with the

                     required royalty payment and final royalty report within sixty(60) days of

                     the notice of termination, by initiating a lawsuit in California state court,




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                      notwithstanding    the    License    Agreements'   mandatory   arbitration

                      provisions, and by misappropriating Phoenix's trade secrets;

              b.      EMCORE's continued sale of royalty-bearing Phoenix technology is an

                      implied election to continue under the License Agreements as if they were

                      never terminated, and EMCORE must cease sales of Phoenix technology

                     and derivatives or pay Phoenix royalties on each and every sale of Phoenix

                     technology and derivatives (past, present, future) until such time as the

                     Arbitrator renders his or her decision;

              c.     EMCORE's breach of the License Agreement excuses any of Phoenix's or

                     its members' non-competition obligations, in their entirety, under Section

                      1 1 of the MOU,or that such obligations are otherwise null and void and of

                     no effect; and

              d.     EMCORE is in breach of the MOU by failing to provide Phoenix with at

                     least 25% of engineering activity and EMCORE must cease all FOG or

                     IMU engineering activity, or provide Phoenix with payment equal to no

                     less than 25% of all FOG or IMU engineering activity that EMCORE did

                     not offer to Phoenix and provide Phoenix with the opportunity to perform

                     at least 25°/o of all FOG and IMU engineering activity until such time as

                     the Arbitrator renders his oi- her decision.

        J.    For pre- and postjudgment interest;

        K.    For temporary, preliminary, and permanent injunctive relief;

        L.    For Phoenix's costs and attorneys' fees, pursuant to Section 13 of the MOU,

             Section 11 of the EMP-1 Agreement, and Section 8 of the EMP-1 k Agreement,




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                  incurred in connection with this proceeding and any related litigation, including,

                  but not limited to the California proceeding, which EMCORE improperly initiated

                  and voluntarily dismissed, and the special proceeding pursuant to CPLR 7502(c)

                  that Phoenix was forced to initiate in aid of arbitration; and

           M.     For such other and further relief as the Arbitrator deems just and proper.

                                                      Respectfully submitted,

                                                                                               __- -


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     August 31, 2018




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